Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 1 of 111

PX3
Agarwal Attachment D
Great Western Bank Records

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 2 of 111

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I. I, jime , have personal knowledge ofthe facts set forth below

and am competmt to testify as foliow~s:

2. I have authority to.¢¢rtify the amhc.nticity of the koc‘<n‘ds produced by Gm:ac W¢-.stcm
Bank and attached bererc.
3. Thc documents produced and atmched hereto by Gre.at Westcm Bank.are originate or true
copies of records of regularly conducted activity that:
a) 'Were made at or near the time of the occurrence of the matters set forth by, or
from infonnation transmitted by, a person with knowledge ofthose matters
b) Were kept in the course of the regularly conducted activity of Grent We~stcm
Bank; and
c) Wer.e made by the reguiarly conducted activity as a. regular practice of Great

Westm Bank.

I certify under penalty ofper_'¢ury titan the foregoing is true and corrch

E):ecuted on_OQZ s_gf£_:___m» ,2016.

  

Agarwa| Atiachment D-1

 

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 3 of 111

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Agarwal Attachment D-2

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 4 of 111

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
   

 

 

 

 

 

 

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Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 5 of 111

   
 
  

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signatures indicated above is satis|ied.‘ The undersi ned personally and
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Agarwal Attachment D-4

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 6 of 111

 

   

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Greec Weahern Bank

5720 W 120 Ave

Broomfield, CC 30020
(303) 460-0333

 

Document 8-3 Filed 07/24/17 Page 7 of 111

    
    
    

 

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Agarwal Attachment D-6

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 8 of 111

      
  
   

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Agarwal Attachment D-8

 

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longmont, CO 80501
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longmont, C0 80501

(303) 772-0777

  

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 13 of 111

 

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 15 of 111

 

   

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 16 of 111

  

    
 

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v./'/.r$<"r"rz../iron /"Jame & Addr@$$

  

2100 Main St
l»onpcnt, Co 80501
(303) 772-0777

      

¢ ' 4 sed By: BBNEDLTJ

kravist Dot¢r 05/20/14

l' z ised Reaeon¢ adding signer

lMPORTAN‘l’ ACCOUN_T OPENIHG NF°RMM’|ON: Fedsral law requires
us to obtaln sufficient rnformetion to verify your identity. You may be
asked several questcons and to provide one or more forms or
|dentm¢ztlon w wlfll! this requlrernent. ln some instances we may use
outside sources to confirm the lnl‘ormarlon. The information you provide
is protected by our privacy policy and federal law.

Enter Non-lndividrml Ownor automation on page 2. There is additional
Ownerlsigner information space on page 2.

  

dennier Johnson
huth

Blair william ncnaa

 

   
  
 
    
  

 

 
   

,Ciccoun§ T/'z/@ 81 /-ldc;~'/ess
Wild Farms Llc

6260 lookout nd she 100
noelder CO 80301

 
 
 

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(For consumer accomm, select and inio‘al.)

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lCheclc appropriate beneficiary designation above.)

 

 

 

m ll checked, this is a temporary accoxmt agreement
Number of signatures required for withdrawal: 1

 

'l’he undersigned authorize the financial institution to investigate credit
and employment history and obtain reports from consumer reporting
egencylles) on them ss individuels. Except as odrerwiee provided bylaw
or other documents, each ot me undersigned is authorized to make
withdrawals from the accountls), pfcwlded the required number of
signatures indicated above is satisfied The undersi ned personally and
as, or on behalf of, ihs account owner(sl agree to terms of. and
acknowledge mcelpr el copy(ies) ol. mls document and the following:

E] 'l'erms and Conditions Cl Frivecv

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g Common Features m

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Agency designation (solect and inmah: m Survives OR

 

    
 

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MPMF-U\Z»CO 5/1!2®7

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Agarwal Attachment D-18

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 20 of 111

   

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{Ii not a 'U.S. Person," certify foreign status sepame!y.)
mg XX-XXXXXXX

      

 

El Taxpayer l.D. member mm ~ The number shown above is my
correct taxpayer identification number.

E| map manuer - l am mt suv;ecz w backup warranwa
either because l have not been notified that l am subiect to backup
withholding as a result of a failure to report all interest or dlvidends,
or the internal Ravenue Service has notiied me that l am no longer
subject to backup withho|dng.

m Exemp! Bedpisms - l am an exempt recipient under the lmemel
Revenue Serv¥ee Begu!adons.

lea mdupemldasofperjurymesmtememsd\eckedin
mwnenon smithsth a U.S. person (lncluclng"a \.I.S.
resident a¥ien).

(Date)

 

 

 

 

 

 

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Agarwa| Attachment D-19

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PX3
Agarwal Attachment E
Guaranty Bank and Trust Records

Case 2:17-cv-O2000-APG-GWF Document 8-3 Filed 07/24/17 Page 22 of 111

CERTIFICATION OF RECORDS OF REGULARLY CONDUCTED ACTIVITY
Pursuant to 28 U.S.C. § 1746

l. l, %D(.GK\SCGWF , have personal knowledge of the facts set forth below
and am competent to testify as follows:
2. I have authority to certify the authenticity of the records produced by Guaranty Bank and
Trust Company and attached hereto.
3. The documents produced and attached hereto by Guaranty Bank and Trust Company are
originals or true copies of records of regularly conducted activity that:
a) Were made at or near the time of the occurrence of the matters set forth by, or
from information transmitted by, a person with knowledge of those matters;
b) Were kept in the course of the regularly conducted activity of Guaranty Bank and
Trust Company; and
c) Were made by the regularly conducted activity as a regular practice of Guaranty

Bank and Trust Company.

l certify under penalty of perjury that the foregoing is true and correct.
Executed on MOU{CV\ 15 , 2017.

 

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sr sworn to betarr me in 1*\€ ""Jw* Oi
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davof:f§rchf. °’ '.f'._'l

 

 

 

 

 

Agarwa| Attachment E-1

Case 2:17-cv-O2000-APG-GWF Document 8-3 Filed 07/24/17 Page 23 of 111
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ACCOUNT
GUARANTY BANK -2896
AND TRUST COMPANY move ow~ms» ~AME & mass
CON DOR CANYON LLC
2011 CHERRY ST #202

OWNERSHIP OF ACCOUNT - CONSUMER (Select One and lnitial): LOUISV"_LE CO 80027
|:] Sing|e-Pany Account g Trust-Seperate Agreement
l:i Muit.ip|e-Part'y Account
l:] Other

RlGHTS AT DEATH iSBIect One And ln'rtial):
ij single-Parry Accoum '
l:l Muitipie-Party Account W‘rth Right of $urvivorship

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FA¥-ON-DEA H BENEFiC|ARiES: Tc Add Pay-On~DeatJ-\ Beneticiar|es Neme One or More:
m N°W ErEtr~FREEeos~eHKN
This is your (checl< one): COMPL
m Permanent l:i Temporary account agreement

 

 

 

Number of signatures required for withdrawal 001
FACSIM|LE S|GNATURE[S) ALLOWED? n YES g NO

[X ~ ]

S|GNATURE($) - The undersigned certifies the accuracy of the

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OWNERSH’P oF ACC°UNT ' BUS|NESS PuRFosE inforlr'tatio|n helshe fharai provided Tahnd ac§no\'rviedges u;;cdm ofha

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m .SOLE PROPR|EF°RSH|P m PAmNERSH|P financial institution to verify credit and employment history and/cr

[__.] CORPORATiON: l:| FOR PROF|T l:l NOT FOR PROFlT have a credit reporting agency prepare a credit report on the

g LLC - P undersign?d. as indivldu:is. The unde;;igned'e|so r;cktl}`r;wi?gl?e the

*~ rece pt o a cop an agree to e terms o ow n

BUSINESS: ONLlNE ADVERSIS|NG/TEETH WH[TE agreement(s) and/oz disciosureis): g

gg%bi=lt&glzsl`?lgl\i: CHE¥ENNE' WY ` m Terms & Conditions l:] Truth in Savings m Funds Avai|abi|ity

AurHoruzArroN DATED: 2/25/2015 Ei Ereccmnic Fund Transfers ll Prlvacy il substitute checks
g Common Featuree l:| _)_

DATE opENED 02/25/2015 gy 3869ALM1 "'""'"

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ij cAsr-r iii cHEcK |:| ' x_ 7

HOME TELEPHoNE # BLA|R W ' `

eusn\uzss PHoNE # 720*233'2418 ~ |.D. #

DR|VER'S LlCENSE #

E-MAIL '

EMPLoYER 4 (2)' . v J`[`

MOTHER-s MA|DEN NAME DAN|ELLE CAROLYN OSS

Name and address of someone who will always know your location: |.D. # -:8082 D.O.B. -1984
(3): L ]

BACKUP WITHHOLDING CERTIFICAT|ONS
TlN: 45'5971069 r.o. # r>.o.a.
TAXPAYER |.D. NUMBER - Tire wman ldemiiication Numbar shown above iTiNi

rs my correct taxpayer idantitiration nurnbar. .

g BABKUP WiTI|l-|ULDING - l am nut subject to backup withholding either because | i4)

have not bean notified that lam sub]sct to backup withho|u'mg as a result of a failure to X

report all interest or dividends, or tha lntemal Ravemre Service has notiiiad ma that iam
no longer subject to backup withholding.

|:l EXHWPT iiEl:iP|ENTS - l am an exempt mdpim mdnr the lrrtemal Ravenua
Service Hegnletirms.
sIGNA'ruRE: l ¢eniry gunma_rrni§§°or v =

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section and th ~an‘i"n U.S. tr er l

|.D. # D.O.B.

AGENCY (POWER 0F ATTORNEY) DES|GNATION ipptional): To Add
Agency Designation To Account. Name One or More Agents:

  

D"'lr = simmsn‘!s §h@¢ketl ll1 this

 

 

   

 

 

 

 

 

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x ' ? g / § |:l Agency Daslgnation Survives Dlsebi|lty or incapacity of Partles
mbANYUN L,LZ, l mm_e) i:] Agency DaelgnationTerminates on Dlsabillty or incapacity of Parties ______
. _.» ,
§lagl:(mr; C;rsd-C(_:M MPSC-LAZ~CO 10/1/200$
n erc y ms

We|ters i(iuwer Financie| Services ©1992, 2009 PYe 1 of 1
Agarwai Atiachment -2

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LlN|iTED LlABlLlTY COMPANY AUTHOR|ZAT|ON RESOLUT|ON
CONDOR CANYON LLC

. ' , _» By:
0 ‘ GUARANTY BANK engineers
- __ § - AND TRUST COMPANY

  

 

 

 

Referred to in this document as "Financial lnstitution" Fieferred to in this document as "Limited Liability Company”
l, BL.AIR W MCNEA _. , certify that | am a Manager or Designated Member of the above named Limited Liability
Company organized under the laws of WYOM|NG , Federai Emp|oyer i.D. Number XX-XXXXXXX ,
engaged in business under the trade name of CONDOR CANYON LLC , and that the resolutions on

 

this document are a correct copy of the resolutions adopted at a meeting of all members of the Limited l_iability Company or the person or persons
designated by the members of the Limited Liability Company to manage the Limlted Liabi|ity Company as provided in the articles of organization or an
operating agreement, duly and properly called and held on 2/25/2015 ldate). These resolutions
appear in the minutes ot this meeting and have not been rescinded or modified.

AGENTS Any Agent listed below, subject to any written |imitations. is authorized to exercise the d as indicated below:

   
    

 

 

 

 

 

 

` Name and Tltle or Posin'on § Signature Facsimi|e Signature (if used)
A. BLAlR w McNEA-MANAGER x , t ,;='""\ x "\
B. DAN|ELLE CAROLYN FOSS-AUTH S|GNER X wM/`¢C// ' X
. L/
C. X 4 X
D. X X
E. X X
F. X X

 

FOWERS GRANTED iAttach one or more Agents to each power by placing the letter corresponding to their name in the area before each power.
Foliowing each power indicate the number of Agent signatures required to exercise the power.)

ndicate A, B, C, Description of Powor lndicate number of
, E, and/or F signatures required
AB (1) Exercise all of the powers listed in this resolution. 1

(2) Open any deposit or share account(s) in the name of the Limited Liabiiity Company.

(3) Endorsa checks and orders for the payment of money or otherwise withdraw or transfer funds on deposit
_with this Financial |nstitution.

(4) Borrow money on behalf and in the name of the Limited Liahility Company, sign, execute and deliver
promissory notes or other evidences of indebtedness

(5} Endorse, assign, transfer, mortgage or pledge bills receivable. warehouse receipts, bills of iading, stocks,
bonds, real estate or other property now owned or hereafter owned or acquired by the Limited Liability
Company as security for sums borrowed, and to ciscount the same, unconditionally guarantee payment
of all bills received, negotiated or discounted and to waive demand, presentment, protest, notice of
protest and notice of non-payment.

l6) Enter into a written lease for the purpose of renting, maintaining accessing and terminating a Safe
Deposit Box in this Financia| |nstitution.

(7) Other

 

 

LiMlTATIONS 0N POWHS The following are the L|mited Liabiiity Company's express limitations on the powers granted under this resolution.

EFFECT ON`PREViOU$ RESOLUTIONS This resolution supersedes resolution dated . if not completed, all resolutions remain in effoct.

cERTlFlCATiON C_>F AUTHOH|T¥

| further certify that die Managers or Designated Members of the Limited Liability Company hava, and at the time of adoption of this resolution had, full
power and lawful authority to adopt the resolutions on page 2 and to confer the powers granted above to the persons named who have full power and
lawful authority to exercise the same. (Apply seal below where appropriate.)

ln Witness Whereof, | have subscribed my name to this document and affixed the sea|, if any,

. orzhel.i red Wn `_ , ...... <--““’"“ cdare).
. ‘ ' ~`>f __ A, r 4

ne Other Mana,der or Designated Niemb

 

  

 
  

 

lpage 1 of 2}

BM @ 1985, 1997 camera system rm., sr. croud, MN Ferm LLc-r 511/2003
Agarwal Ai'tachment E~3

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As used in this resolution, the term ”Manager“ means the person or persons designated by the members of the Limited Liability Company in a
manager-managed Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an operating
agreement The term "Designated Member" means the member or members of the Limited Liability Company authorized to act on behalf of the Limited
Liability Company in a member-managed Limited Liability Company. By signing this resolution, Manager or Dasignated Membar represent that they
have provided the Financial institution with true and complete copies of the articles of organization and operating agreements of the Limited Liability
Company as amended to the date of this resolution.

The Limited Liability Company named on this resolution resolves that, _

il l The Financial institution is designated as a depository for the funds of the Limited Liability Company and to provide other financial accommodations
indicated in this resolution.

iZlThis resolution shall continue to have effect until express written notice of its rescission or modification has been received and recorded by the
Financial lnstitution. Any and all prior resolutions adopted by the Managers or Dasignated Members of the L.imited~Liabiiity Company and certified to
the Financial institution as governing the operation of this Limited Liability Company' s account(s), are in full force and effect, until the Financial
institution receives and acknowledges an express written notice of its revocation, modification or replacement Any revocation, modification or
replacement of a resolution must be accompanied by documentation, satisfactory to the Financial institution, establishing the ',authori_ty for the
changes. `

(3)The signature of an Agent on this resolution is conclusive evidence of their authority to act on behalf of the Limited Liability Company. Any Agent,
so long as they act in a representative capacity as an Agent of the Limited Liability Company, is authorized to make any and all other contracts,
agreements, stipulations and orders which they may deem advisable for the effective exercise of the powers indicated on page one, from time to
time with the_ Financial |nstitution, subject to any restrictions on this resolution or otherwise agreed to in writing.

i4)Aii transactions. if any. with respect to any deposics, withdrawais, rediscounts and borrowings by or on behalf of the Limited Liability Company
with the Financial institution prior to the adoption of this resolution are hereby ratified, approved and confirmed

(B)The Limited Liability Company agrees to the terms and conditions of any account agreement, properly opened by any Agent of the Limited Liability
Company. The Limited Liability Company authorizes the Financial institution, at any time, to charge the Limited Liability Company for all checks,'
drafts. or other orders, for the payment of money, that are drawn on the Financial institution, so long as they contain the required number of
signatures for this purpose.

(B)The Limited Liability Company acknowledges and agrees that the Financial institution may furnish at its discretion automated access devices to
Agents of the Limited Liability Company to facilitate those powers authorized by this resolution or other resolutions _in effect at the time of
issuance. The term 'automated access device" includes, but rs not limited to, credit cards, automated teller machines (ATM), and debit cards.

(7)The Limited Liability Company acknowledges and agrees that the Financial institution may rely on alternative signature and verification codes issued
to or obtained from the Agent named on this resolution. The term "alternative signature and verification codes" includea, but is not limited to.
facsimile signatures on Flie with` the Financial lnstitution. personal identification numbers lPlNi, and digital signatures if a facsimile signature
specimen has been provided on this resolution. ior that are filed separately by the Limited Liability Company with the Financial institution from time
to time) the Financial lnstitution is authorized to treat the facsimile signature as the signature of the Agent(s) regardless of by whom or by what
means the facsimile signature may have been affixed so long as it resembles the facsimile signature specimen on file. The Limited Liability Company
authorizes each Agent to have custody of the Limited Liability Company's private key used to create a digital signature and to request issuance of a
certificate listing the corresponding public ksy. The Financial institution shall have no responsibility or liability for unauthorized use of alternative
signature and verification codes unless otherwise agreed in writing.

Pennsyivania. The designation of an Agent does not create a power of attorney; therefore, Agents are not subject to the provisions of 20 Pe.C.S.A.

Section 5601 et seq. iChapter 56; Decedents, Estetes and Fiduciaries Cods) unless the agency was created by a separate power of attomey. Any

provision that assigns Financial institution rights to act on behalf of any person or entity is not subject to the provisions of 20 Pa. C. S. A. Section 5601
et seq. iChapter 56; Dacedents, Estetes and Fiduciaries Code)

 

FOR FINANC|AL INST|TUTION USE ONLY

Acknowiedged and'received on (datel by (initiais) i:] This resolution is superseded by resolution dated
Comments:
Bq%M,“ © 1ase, 1997 eankera system,inc.. sc. ccoue, MN Form 1_1_c-1 5/112003 (page 2 of 2)

Agan~al Attachment E-4

 

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GUARANTY BANK
AND TRUST COMPANY

ACCOUNT
NUN|BER

-2909

 

 

 

 

 

 

 

 

 

 

DUNT OWNER(Si NAME & A%DRESS

 

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SAANDSTONE BEACH,L
2011 CHERRY STREET #202
OWNERSH|P OF ACCOUNT - CONSUMER (Sslec`t One and Irtl‘tial): LOU|SV|LLE CO 80027
i:l Single~Party Account l:l Trust-Seperate Agreement
m Multiple-Party Account
m Othor
BiGHTS AT DEATH iSelect: Orte And lnitiali:
l:l singre~earry Account
l:\ Multip|e-Party Account With nght of Survivorship
1:\ Multi le- Acoow'\t Without Rl ht cf Survlvorshi
i:l Sing|:-Perth;tlccount With Pay OngDeath p g NEW m EX[ST|NG
l:] Multi le-P eA¢>count With Right of Survivorship ATg:§uc|’:T g CHECK[NG [:| SAV|NGS
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elsewhere PHOEN'><» AZ

AUTHOF||ZAT|ON DATED:

 

2/25/201 5

 

 

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iNmAL DEPoslT s .00
El cAsH Ei cHEcK E|

HoME TELEPHoNE #
euslNEss PHoNE # 720'238-2418
DRIVER"$ chENsE #
E-MA\L
EMPLoYl-:e
MoTHER's MA|DEN NAME
Name and address of someone who will always know your lom°n;

By BSSQALM 1

 

 

 

 

 

 

 

 

 

 

BACKUF WlTHHOLDlNG CERT|F|CAT|ONS
m XX-XXXXXXX

g TAXFAYEH i.D. illliliBEli - The Taxpayer ldentiiicatlon Numbnrslmwn above lTlNl
is my correct taxpayer identification numliar.

m BACKI|P Wl'|'l|l-liiLD|N\i | am not subject to backup withho|d`mg either became l
have not been notiiied that | am subject to backup withholding as a result of a ieilm'e to
report ali interest ar dividemis, or the lntema| Revenue Servir:e has outliin me that l arn
no longer subject to backup withhoidln g.

|:l EXl'-.MPT REG|PIEHTS- l am an exempt recipient under the internal Revenue
Smril:e Regulrrtlons.

SIGNATURE: i certify under penalties of perjury the statements checked in this
section end that l am a lLS. citizen or other 1|8. person les defined in the

 

 

Number of signatures required for withdrawal 001
FACSlMlLE SlGNATURE(S)ALLOWED? l:l YES NO

[X ]

SlGNATURE(Sl - The undersigned certifies the accuracy of the
information helshe has provided and ecknow|ed es receipt of a
completed c_opy of this form. The undersigne authorizes the
financial institution to verlafye credit and employment history endlor
have a credit reporan prepare a credit report on the
undersigned, as Indlvlduals. gThe undersigned also acknowledge the
receipt of a copy and agree to the terms of the following
agreementls) and/or disclosurelsi:

g Terms &Conditions ij Truth ln Savings g Funds Availabi|ity
fl E|ectronic Fund Transfers L:l Privacy § Substitute Checks
g Common Features [l

 

 

 

(2): [X S(_ ]
DANIELLE CARO N FOSS
|.D. # 082 D.o.e. 984
L 1
i.D. # D.O.B.
L 1
I. D # D. o. e.

 

AGENCY lPOWER OF AT'|'ORNEY) DESIGNATION lOptiona|): To Add
Agency Designation To Acc'ount, Name One or More Agents:

 

 

 

(Select One and |nitial):
m Agency Dasignetlon Survlves Disability or incapacity of Partles
m Agoncy Daslgnation Terminates on Disebllity er incapacity of Ferties

 

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MPSC-l.AZ-CO 10/1/2009

01 Of 1
Agarwal Attachment P`i’§°5

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LlMlTED LlABlLlTY COMPANY AUTHOR|ZATION RESOLUTION
By: SANDSTONE BEACH, LLC

GUARANTY BANK zar.:¢rr:;:;§r§m
AND TRUST COMPANY

   

 

 

 

Referred to in this document as "'Financial lnstitution" Referred to in this document as "Limited Liability Company”
l, RYAN MCW|LUAMS , certify that l am a Manager or Designated Member of the above named Limited Liability
Company organized under the laws of AR|ZONA , Federa| Employer |.D. Number 45~5359919
engaged in business under the trade name of SANDSTONE BEACH LLC , and that the resolutions on

 

this document are a correct copy of the resolutions adopted at a meeting of eli members of the Limited Liability Company or the person or persons
designated by the members of the Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an
operating agreement, duly and properly called and held on 2/25/2015 ‘ ldate). These resolutions
appear in the minutes of this meeting and have not been rescinded or modified.

AGENTS Any Agent listed below, subject to any written limitations, is authorized to exercise the powers granted as indicated beiow:

Namo and Title or Position Signature __ Facsimile Signature (if used)
A. RYAN MchLLlAMs-MANAGER W

 

 

 

 

 

 

 

 

x x
B. DAN|ELLE CAROLYN FQSS-AUTH SlGNER x 22 M . g § X
c. x x
D. x x
E. x x
F. v x x

 

 

POWERS GRANTED (Attach one or more Agents to each power by placing the letter corresponding to their name in the area before each power.
Fol|owing each power indicate the number of Agent signatures required to exercise the power )

ndicate A, B, C, Description of Power lndicate number of
, E, and/or F signatures required
AB (1) Exercise all of the powers listed in this resolution. 1

(2) Open any deposit or share accountls) in the name of the Limited Liability Company.

(3) Endorse checks and orders far the payment of money or otherwise withdraw or transfer funds on deposit
with this Financial lnstitution.

l4l Borrow money on behalf and in the name of the Limited Liability Company. sign, execute and deliver
promissory notes or other evidences of indebtedness

t5) Endorse, assign, transfer, mortgage or pledge bills receivab|e, warehouse receipts, bills of lading, stocks,
bonds, real estate or other property now owned or hereafter owned or acquired by the Limited Liability
Company as security for sums borrowed, and to discount the same, unconditionally guarantee payment
of all bills raceived, negotiated or discounted and to waive demand, presentment, protest, notice of
protest and notice of non-payment

iBl Enter into a written lease for the purpose of renting. maintaining, accessing and terminating a Safe
Deposit Box in this Financial institution.

(7) Other

 

 

LlMlTATIQNS ON PQWERS The following are the Limited Liability Company's express limitations on the powers granted under this resolution.

EFFECT ON PREV|OUS RESOLUT|ONS This resolution supersedes resolution dated . if not completed, all resolutions remain in effect.
CERTlFlCATION OF AUTHOR|TY 4 b
l further certify that the Managors or Designated Nlembers of the Limited Liability Company have, and et the time of adoption of this resolution had, full
power and lawful authority to adopt the resolutions on page 2 and to confer the powers granted above to the persons named who have full power and
lawful authority to exercise the eame. (Apply seal below where appropriate.)

in Witness Whereor, l have subscribed my name to this document and affixed the seal, if eny,

 

. of th‘e(' it'e Liability Company dn__ (date).
(1, Ci»/z~_#l~/$‘<Titc<' Z/"’"

Attes't"by One Other Manager oWesignated Member " Meneger or Designated Member

5&@‘ © 1935, 1997 emma symm,mc.,st crm, MN rem u_c-'l 51112003 lives 7 of 2)
Agarwal Attachment E-6

Case 2:17-cv-02000-APG-GWF '"'DoC`Um`ent"S¥_B Filed `07724/17 Page 28 of 111

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As used in this resolution, the term 'Manager" means the person or persons designated by the members of the Limited Liability Company in a
manager- managed Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an operating
agreement The term "Designated Member" means the member or members of the Limited Liability Company authorized to act on behalf of the Limited
Liability Company in a member-managed Limited Liability Company. By signing this resolution Manager or Designated Mem_ber represent that they
have provided the Financial institution with true and complete copies of the articles of organization and operating agreements of the Limited Liability
Company as amended to the date of this resolution ~

The leited Liability Company named on this resolution resolves that.

(1) The Financial institution is designated as a depository for the funds of the Limited Liability Company and to provide other financial accommodations
indicated in this resolution.

(2)Thls resolution shall continue to have effect until express written notice of its rescission or modification has bean received and recorded by the
Financial institution. Any and all prior resolutions adopted by the Managers or Designated Members of the Limited Liability Company and certihed to
the Financial lnstitutlon as governing the operation of this Limited Liability Company' s accountls), are in full force and effect until the F1nencial
institution receives and acknowledges an express written notice of its revocation, modification or replacement. Any revocation, modification or
replacement of a resolution must be accompanied by decumentation, satisfactory to the Financial lnstitutlon, establishing the authority for the
changes.

(3)The signature of an Agent on this resolution is conclusive evidence of their authority to act on behalf of the Limited Liability Company. Any Agent,
so long as they act in a representative capacity as an Agent of the Limited Liability Company. is authorized to make any and all other contracts,
agreements, stipulations and orders which they may deem advisable for the effective exercise of the powers indicated on page one, from time_to
time with the Financial lnstitution, subject to any restrictions on this resolution or otherwise agreed to in writing. `

(4)All trensactions, if any, with respect to any deposits, withdrawals, rediscounts and borrowings by or on behalf of the Limited Liability Company
with the Financial institution prior to the adoption of this resolution are hereby ratified, approved and confirmed

(5) The Limited Liability Company agrees to the terms and conditions _of any account agreement properly opened by any Agent of the Limited Liability
Company. The Limited Liability Company authorizes the Financial lnstitution, at any time, to charge the Limited Liability Company for all checks,
drafts, or other orders, for the payment of money, that are drawn on the Financial lnsdtution, so long as they contain the required number of
signatures for this purpose.

l6)The Limited Liability Company acknowledges and agrees that the Financial institution may furnish 'at its discretion automated access devices to
Agents of the Limited Liability`Company to facilitate those powers authorized by this resolution or other resolutions in effect at the time of
issuance'. The term "automated access device' includes, but is not limited to, credit cards. automated teller machines (ATM}, and debit cards.

(7) The Limited Liability Company acknowledges and agrees that the Financial institution may rely on alternative signature and verification codes issued
to or obtained from the Agent named on this resolution. The term 'alternative` signature.and verification codes" includes,v but is not limited to,
facsimile signatures on file with the Financial |nstitution, personal identification numbers (PlNi, and digital signatures if a facsimile signature
specimen has been provided on this resolution. (or that are filed separately by the Limited Liability Company with the Financial lnstitution from time
to tlme) the Financial institution is authorized to treat the facsimile signature as the signature of the Agent(s) regardless of by whom or by what
means the facsimile signature may have been affixed so long'as lt resembles the facsimile signature specimen on Hle. The Limited Liability Company
authorizes each Agent to have custody of the Limited Liability Company's private key used to create a digital signature and to request issuance of a
certificate listing the corresponding public key. The Financial institution shall have no responsibility or liability for unauthorized use of~ alternative
signature and verification codes unless otherwise agreed in writing.

Pennsylvania. The designation of an Agent does not create a power of attomey; therefore, Agents are not subject to the provisions of 20 Pa.C.S.A.
Section 5601 et seq. iChapter 56; Decedents, Estetes and Fiduciaries Code) unless the agency was created by a separate power of attorney. Any
provision that assigns Financial institution rights to act on behalf of any person or entity is not subject to the provisions of 20 Pa.C.S.A. Section 5601
et seq. iChapter 56; Decedents, Estetes and Fiduciaries Code).‘

 

FOR F|NANC|AL lNST|'i'UTION USE Oi\lL¥

 

Acknowledged and received on (date} by iinitiale) l:] Thls resolution is superseded by resolution dated
Comments:
E)M§‘ © tass, 1997 santos system 1111=., st. cloud, MN Farm L1.c-1 5/1/2003 (pega 2 of 2)

Agarwal Attachment E-7

 

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 29 of 111

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GUARA_NTY BANK
AND TRUST COMPANY

 

ACCOUNT
NUMBER

-917

 

 

 

 

 

 

 

 

 

 

ACCOUNT OWNER(S) NAME & ADDRESS

 

 

nd On eath

Multi le-Pa Account With Right of Survivorship
a F§y
PAY-ON-DEA H BENE=|C|ARIES: To Add Pey-On-Deeth Benefioiariea Name One or Mere:

 

ABSOLUTELY WORK|NG LLC
2011 CHERRY ST #202
OWNEHSHlP OF ACCOUNT - CONSUMER (Seiect one and Inltlaii: LOU[SV[LLE CO 80027
\:l Slng|e-Party Account g Trust-Separate Agreement
\:l Mu|tiple-Party Acoount
l:l Dther
RiGHTS AT DEATH (Seiact One And |nltleil:
E] Single-Party Account
ij Mtruple-Pany Ac¢oum with eight of survivorsth
|Ii Mum le-Pa Aecoum without er m ar survivorshi
m Singl:-Pan:;ccount Wrth Pay Ongi)eath p m NEW m EX|ST|NG
m ATJ:§$T ii cHEcz<lNe l:l sAviNGs
l:l MONEY MARKET |:l CERTiF|CATE OF DEPOS|T

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§ Permanent l:l Temporary account agreement.

 

 

 

 

 

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g LLC‘
BUS,NE$S: TEATH WHlTEN|NG SALES
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Au‘rHonle'rloN DATED: 2/25/2015

 

 

DATE oPENEo 02/25/2015

iNiTiAL DEPOS|T $ -OO

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HOME TELEPHONE # .
BUSINESS PHONE # 720`238'2418
DRIVER'S LiCENSE #
E-MA|L
EMPLOYEFt
MOTHER'S MA|DEN NAME
Name and address cf someone who will always know your location: '_

BY 5869ALM 1

 

 

 

 

 

 

 

 

 

 

BACKUP WITHHOLD|NG CERT|F|CAT[ONS
11~:2745219317

g TAXPA¥EB LD. HlIMBEii - The Texpayer identification Numhar shown above (|'|N)
is my correct taxpayer identification number.

g BABKilP WiTiiiiliLD|NG - i am not subject to hacka withholding eitlue' because l
have not been notified that lam subject to backup withholding as a result of a failure to
report all interest or dividends, erthc internal Revemm Service has notified me that | am
no longer subject to backup withholdinq.

[:I EXEM|'T BEG|PIEHTS - l am an exempt recipient under the internal Revrrnue
Sm'vice Regu[ations. .

SlGNATURE: lcortlty under penalties otpnr]u
section emi that l am a U.S. citizen or other

.= statements checked in this
' person las defined lo the

  
  

 

 

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Benkers SyetemsTM
Woltnro Kluwer Financial Servlces © 1992, 2009

Number oi signatures required for withdrawal 001
FACS|M|LE SlGNATURE(S) ALLOWED? m YES m NO

[x ]

SlGNATURE(Si - The undersigned certifies the accuracy of the
information he/she has provided and-acknowledges receipt of a
completed copy of this torm. The undersigned authorizes the
linancial institution to verify credit and employment history and/or
have a credit reporting lgency prepare a credit report on the
undersigned, as individuals. The undersigned also acknowledge the
receipt of a co y'and agree to the terms of the following
agreement(s) and or dlsciosure(s): '

g Terms & Cond'rtions ij Truth in Savings B Funds Availabii|ty

` m Eiectronic Fund Transfers \:l Privacy m Substitute Checks

g Common Features [l

 

(`ll:

 

 

]
DAN|ELLE CAROL NFOSS '
r.o.# 082 D_O_B_ 984 .
(3): L ]
1.0.# n.o.a.
44): L ]
1.0.# n.o.a.

 

AGENCY (POWER OF ATTORNEY) DES|GNATION (Optionali: To Add
Agenoy Designation To Account, Name One or More Agents:

 

lSelect One and initiai):
m Agancy Designation Squee Disablilty or incapacity of Perties
m Agency Designation `l'erminetes on Dieabiiity or incapacity nt Pert|es

MPSC~LAZ-CO 10Ii l2009

Page 1 of ‘l
Agarwal Attachment E»8

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 30 of 111
o Guaranty Bank Authorization Letter

Date: 3/07/2015

To Whom lt Nlay Concern:

l am writing this letter to confirm that Danielle Foss is authorized to be a signer on my business checking
account with Guaranty Bank in the name of Abso|utely Working, LLC. Daniel|e is also authorized to speak
to the bank on my behalf.

Sincerely,

o WF</Q\_Z/Oa/)S“

Abso|utely Working, LLC

Agarwal Attachment E-9

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 31 of 111

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L|NllTED LlABlLlTY COMPANY AUTHOR|ZAT|ON RESOLUT|ON
ABSOLUTELY WORK|NG LLC

By:
GUARANTY BAN_K iiii.§iii‘§§§iii§i
. AND TRUST COMPANY

 

 

 

 

Referred to in this document as "Financial lnstitution” Refer_red to in this document as "Limited Liability Company"
l, MEGAN NOSEL , certify that l am a Manager or Designated Member of the above named Limited LlabHity
Company organized under the'laws of COLORADO , Federal Employer LD. Number XX-XXXXXXX ,
engaged in business under the trade name of ABSOLUTELY WORK|NG LLC , and that the resolutions on

 

this document are a correct copy of the resolutions adopted at a meeting of all members of the Limited Liability Company or the person or persons
designated by the members of the Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an
operating agreement, duly and properly called and held on 2/25/2015 (date). Thesa resolutions
appear in the minutes of this meeting and have not been rescinded or modiiied.

AGENTS Any Agent listed below, subject to any written limitations, is authorized to exercise the powers granted as indicated below:

 

 

 

 

 

 

 

Name and Title or Position _ i _e Facsimile Sigrrature lif used)
A. MEGAN NosEL-MANAGER x x
B.` DAN|ELLE cARoLYN Foss-Aun-i slGNER \ ~&C x
C. X / X
' D. X X
E. X X
F. X ' X

 

PQWERS GRANTED (Attach one or more Agents to each power by placing the letter corresponding to their name in the area before each power.
Foliowing each power indicate the number of Agent signatures required to exercise the power.l

ndicate A, B, C,. Description of Power indicate number of
, E, and/or F signatures required
AB iii Exercise eli of the powers listed in this resolution. 1

(2) Open any deposit or share accountls) in the name of the Limited Liabiiity Company.

(3) Endorse checks and orders for the payment of money or otherwise withdraw or transfer funds on deposit
with this Financial lnstitution.

‘(4l Borrow money on behalf and in the name of the Limited Liability Company, sign, execute and deliver
promissory notes or other evidences of indebtedness.

i5) Endorse, assign, transfer, mortgage or pledge bills receivable, warehouse receipts, bills of iading. stocks,
bonds, real estate or other property now owned or hereafter owned or acquired by the Limited Liability
Company as security for sums borrowed, and to discount the same, unconditionally guarantee payment
of eli bills received, negotiated or discounted end to waive demand, presentment protest, notice oi‘
protest and notice of non-payment. '

lB) Enter into a written lease for the purpose of renting, maintaining, accessan and terminating a Safe
Deposit Box in this Financial lnstitution.

(7) Other

 

 

L|MITATlONS ON POWEHS The following are the Limited Liability Company's express limitations on the powers granted under this resolution.

EFFECT 0N PREV!OUS RESOLUT|ONS This resolution supersedes resolution dated . if not compietecl, all resolutions remain in effect

CEBT|F|CATION OF AUTHORITY

l further certify that the Managers or Designated Members ot the Limited Liability Company have, and at the time of adoption of this resolution had, fu|i'
power and lawful authority to adopt the resolutions on page 2 and to confer the powers granted above to the persons named who have full power and
lawful authority to exercise tha same. (Apply seal below where appropriate.l _

hereof, l have subscribed my name to this document and affixed the seal, it any,

EGH£' © 1aee, 1997 eankers systems ina., sr. croua, MN Form LLC-1 5/1;2003

 
  
 

 

   

  
   
 

4 -- ¢»4 __, l
Attes y One ither ' an

ger r Designated Member

 

{paga 7 af 2}
Agarwal Attachment E-10

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 32 of 111
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As used in this resolution, the term "Manager‘1 means the person or persons designated by the members of the Limited Liability Company in a
manager-managed Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an operating
agreement The term "Designated Member' means the member or members of the Limited Liability Company authorized to act on behalf of the Limited
.Ljability Company in a member-managed Limited Liability Company. By signing this resolution, Manager or Designated Member represent that they
have provided the Financial institution with true and complete copies of the articles of organization and operating agreements of the Limited Liability
Company as amended to the date of this resolution. .

The Limited Liability Company named on this resolution resolves that,

(1)The Financial institution is designated as a depository for the funds of the Limited Liability Company and to provide other financial accommodations
indicated in this resolution.

(2)This resolution shall continue to have effect until express written notice of its rescission or modification has been received and recorded by the
Financial lnstitution. Any end ali prior resolutions adopted by the Menagers or Designated Members of the Limited Liability Company end certified to
the Financial institution as governing the operation of this Limited Liability Company's account(s), are in full force and effect, until the Financial
institution receives and acknowledges an express written notice of its revocation, modification or replacement Any revocation, modification or
replacement of a resolution must be accompanied by documentation, satisfactory to the Financial |nstitution, establishing the authoer for the
changes.

(3) The signature of an Agent on this resolution is conclusive evidence of their authority to act .on behalf of the Limited Liability Company. Any Agent,
so long as they act in a representative capacity as an Agent of the Limited Liability Company, is authorized to make any and all other contracts,
agreements, stipulations end orders which they may deem advisable for the effective exercise of the powers indicated on page one, from time to
time with the Financial lnstitution, subject to any restrictions on this resolution or otherwise agreed to in writing.

i4) Ail transactions, if any, with respect to any deposits, withdrewels, rediscounts end borrowings by or on behalf of the Limited Liability Company
with the Financial institution prior to the adoption of this resoiution are hereby ratified, approved and coni'irmed.

(5) The Limited Liability Company agrees to the terms and conditions of any account agreement, properly opened by any Agent of the Limited Liability
Company. The Limited Liability Company authorizes the Financial lnatitution, at any time, to charge the Limited Liability Company for all checks,
drafts, or other orders, for the payment of money, that are drawn on the Financial lnstitutlon, so long as they contain the required number of
signatures for this purpose.

(G)The Limited Liability Company acknowledges and agrees that the Financial lnstltution may furnish at its discretion automated access devices to
Agents of the Limited Liability Company to facilitate those powers authorized by this resolution or other resolutions in effect at the time of
issuance. The term "automated access device" includes, but is not limited to. credit cards, automated teller machines (ATN|), and debit cerds.

(7) The Limited Liability Company acknowledges and agrees that the Financial institution may rely on alternative signature and verification codes issued
to or obtained from the Agent named on this resolution. The term '.altamative signature and verification codas" includes, but is not limited to,
facsimile signatures on file with the Financial k\stittrtion, personal identification numbers [PlN), and digital signatures lf a facsimile signature
specimen has been provided on this resolution. (or that are filed separately by the Limited Liability Company with the Financial institution from time
to timei the Financial institution is authorized to treat the facsimile signature as the signature of the Agent(si regardless of by whom or by what
means the facsimile signature may have been affixed so long as it resembles the facsimile signature specimen on file. The Limited Liability Company
authorizes each Agent to have custody of the Limited Liability Company's private key used to create a digital signature and to request issuance of a
certificate listing the corresponding public key. The Financial institution shall have no responsibility or liabHity#for unauthorized use of alternative
signature and verification codes unless otherwise agreed in writing.

.Pennsyivania. The designation of an Agent does not create a power of attornay; therefore, Agents are not subject to the provisions of 20 Pa.C.S.A.
Section 5601 et seq. (Chapter 56,' Decadents, Estetes and Fiduciaries Code) unless the agency was created by a separate power of attomey. Any
provision that assigns Financial lnstitution rights to act on behalf of any person or entity is not subject to the provisions of 20 Pa.C.S.A. Section 5601
et seq. (Chapter 56; Decedents, Estetes and Fiduciaries Codei.

 

FOR FlNANCIAL iNST|TUT|ON USE ONLY

Acknowledged and received on ldate) by (initials) l:l This resolution is superseded by resolution dated_

Comments:

E)GE§,“ © 1985. 1897 Bankere Systerna, lnc., St. Cioud, MN Form LLC-1 511/2003 Ipage 2 of 2}

Agan~al Attachment E-1 1

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1 GUARANTY BANK
f_. ANDTRUST COMPANY

   

AccouNT
NuMeEe --2925

 

 

 

 

OWNERSHIP OF ACCOUNT - CONSUMEH lSe|ect One and lnitia||:
ij Singie~Party Account m Trust-Seperate Agreement

m Multiple-Fany Accoum
l:l Other

 

 

 

 

RlGHTS AT DEATH lSe|ect One And lnltlai):
Singie-Perty Account
Muitipie-Perty Account With Fiight of Survlvorship
Multipie-Party Account Without Fiight of Survivorship
Single-Peny Account With Pay On Death
Mult,i§:e-Pe Account lMth Right of Survivorshlp

and On oath
PA¥~ON-DEA BENBHC|AFBE$: To Add Pay-Or\'Death Benefioialiee Name One or More:

E|:l|`_`|[ll:i

AccouNr owm=.ms) NAME a Anerss
THREE LAKES LLC

201 1 CHERRY ST #202

 

 

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g Perrnanent l:] Temporary account agreement

 

 

 

 

 

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39%'§&%|13£%§= RENO- NEVADA

. BuS;NESS, ONL|NE SALES/TEETH WHITENING
AuTHomzATloN DATED: 2/25/2015

 

 

DATE ngNED 02/25/2015 BY 3869ALM1

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HoME TELEPHQNE #

 

euslNEss PHoNE # 720-233'2418

DRIVER'S LICENSE # -
E-MAIL '

 

EM PLOYER

 

MOTHER'S MAIDEN NAME

 

Narne and address of someone who will always know your location:

 

 

 

 

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11~, XX-XXXXXXX

m TAXPA¥E|I |.D. PlllMBEll -The Taxpayer |dentiiicalion Numher shown above i11Nl
is my correct taxpayer identification nurnher.

§ BACKUP WlTillillLDliilli -| am not misled to' backup withholding either because |
have not been notiiied that lam subject to backup withholding es a result of a failure to
report all interest or dividends, or the internal Reveoue Sa'viee has notified me that iam
no itmger sunset to backup withholding. ~

l:l EXEMPT BE|§|P!ENTS - l em en exempt recipient under the internal Revenue
Service Regulations.

SlGNATURE: l eardfy under penalties 01 per|ury the statements checked in this
section end that a U.S. 'tizen or other UtS. person ins defined in tile

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Number of signatures required for withdrawal 001
FAcslMu_E sloNAruaEcs; Au_owem |:l YEs No

[x ]

_SlGNATURE(Sl - The undersigned certifies the accuracy of the
mformation.helshe has provided and acknowledges receipt of a
completed copy of this form. The undersigna authorizes the
financial institution to verify credit and_ employment history and/or
have a credit reporting agency prepare a credit report on the
undersigned, as individuals. The undersigned also acknowledge the
receipt of a cof)y and agree to the terms of the following
agreement(s} and or dlaciosure(s):

m Terms &Condi‘tions [___l Truth in Savings m Funds Availabi|`rty
l:l Electronic Fund Transfers i:] Privacy z Substituto Checks
m Common Features m

 

LU%»% ]

CHR|S S POOLE

D.o.e. 989

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FOSS
l.o.#-SOSZ D_O_B_ -1984
(3): L ]
l.c).# e.o.e.
14): L ]
l.D.# n.o.e.

 

AGENCY iPOWER OF ATTORNEY) DESlGNATiON (bptlonai): To Add
Agency Designation To Account, Name One or More Agents:

 

(Seieot One and ln'rtial):
m Agency Designation Survlvee Disabi|hy or incapacity ot Parties
[:I Agenoy Designatlon Terminates on Disabi|ity or incapacity of Paniea

 

X
LLt, um_e;
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Agarwal Attachment E- 2

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 34 of 111
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L|MITED LlABlLlTY COMPANY AUTHORIZATION RESOLUT|ON
THREE LAKES LLC

, _. By:
GUARANTY BANK E%U.§liil‘§§§§i§§-?
AND TRUST COMPANY

` Referred to in this document as ”Frnanciai institution' Fieferred to in this document as l`Limited Liability Company"

   

 

 

 

 

i, CHR|S S POOLE , certify that | am a Manager or Designated Member of the above named limited Liability
Company organized under the iaws of NEVADA , Federa| Employer |.D. Number 38-§934817 ,
engaged in business under the trade name of THREE L.AKES LLC , and that the resolutions On

this document are a correct copy of the resolutions adopted at a meeting of ali members of the Limited Liability Company or the person or persons
designated by the members of the Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an
operating agreement, duly end properly called and held on 2/25/2015 (date). Thsse resolutions
appear in the minutes of this meeting and have not been rescinded or modified.

AGENTS Any Agent listed below, subject to any written limitations, is authorized to exercise the powers granted as indicated beiow:

Name and Tit|e or Position Facsimi|e Signeture (if used)

A. CHR|S`S POOLE-MANAGER
B. DAN|ELLE CAROLYN FOSS-AUTH SlGNER

C.

 

 

D.

 

 

><><><><><

E.
F. ` X ' X

 

POWERS GRANTED (Attach one or more Agents to each power by placing the letter corresponding to their name in the area before each power.
Following each power indicate the number of Agent signatures required to exercise the power.)

ndicate A, B, C, Description of Power indicate number of
, E, and/or F signatures required
AB (1) Exercise all of the powers listed in this resolution. 1

(2) Open any deposit or share accountls) in the name of the Limited Liability Company.

l3i Endorse checks and orders for the payment of money or otherwise withdraw or transfer funds on deposit
with this Financial institution.

(4) Borrow money on behalf and in the name of the Limited Liability Company. sign, execute and deliver
promissory notes or other evidences of indebtedness.

i$i Endorse, assign, transfer, mortgage or pledge bills receivab|a, warehouse receipts, bills of |ading, stocks,
bonds, real estate or other property now owned or hereafter owned or acquired by the Limited Liability
Company as security for sums borrowed, and to discount the same, unconditionally guarantee payment
of all bills received, negotiated or discounted and to waive demand, presentment, protest. notice of
protest and notice of non~payment.

(6) Enter into a written lease for the purpose of renting, maintaining, accessing and terminating a Safe
Deposit Box in this Financial lnstitution.

(7) Other

 

 

LlM|TATiONS ON POWERS The following are the Limited Liability Company's express limitations on the powers granted under this resolution.

EFFECT ON PREV|CUS RESOLUT|ONS This resolution supersedes resolution dated . lf not completed, all resolutions remain in effect.

cERTlFICATlON OF AUTl-lORlTY
l»further certify that the Managers or Designated Members of the Limited Liability Company have, and at the time of adoption of this resolution had, full
power and lawful authority to adopt the resolutions on page 2 and to confer the powers granted above to the persons named who have full power end
lawful authority to exercise the same. (Apply seal below where appropriate.)

in Wi - : - -' Whereof, l have subscribed my name to this document and affixed the seai, if any.

° of l er Liability Comp on 04 /: (date).

BM © ieas, 1997 emkera system rnc., sr. ooua, MN Form Lr_c.1 5/1/2003 {psgs 1 of 2)

 
 
  

 

   

» by One Other Man'ager or Désignated Mernber Manager 6’r Designated Member
Agarwal Attachment E-13

Case 2:17-cv-02000-APG-GWF Document8-3 Filed 07/24/17 Pagé"?$§`"`c)i`ll`l
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As used in this resolution, the term "Manager" means the person or persons designated by the members of the Limited Liability Company in a
manager~managed Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an operating

a.greement The term "Dasignated Member" means the member or members of the Limited Liability Company authorized to act on behalf of the Limited
Liability Company' in a member-managed Limited Liability Company. .By signing this resolution, Manager or Designated Mem_ber represent that they
have provided the Financial institution with true and complete copies of the articles of organization and operating agreements of the Limited Liability
Company as amended to the date of this resolution,

The Limited Liability Company named on this resolution resolves that,

i 1)The Financial institution is designated as a depository for the funds of the Limited Liability Company and to provide other financial accommodations
indicated in this resolution

i2)This resolution shall continue to have effect until express written notice of its rescission or modification has been received and recorded by the
Financial lnstitution. Any and all prior resolutions adopted by the Managers or Designated Members of the Limited Liability Company and certified to
the Financial institution as governing the operation of this Limited Liability Company' .s account(s), are in full force and effect until the Financial
institution receives and acknowledges an express written notice of its revocation, modification or replacement. Any revocation, modification cr
replacement of a resolution must be accompanied by documentation, satisfactory to the Financial lnstitution, establishing the authority for the
changes.

(3)The signature of an Agent on this resolution is conclusive evidence of their authority to act on behalf of the Limited Liability Company. Any Agent,
so long as they act in a representative capacity as an Agent of the Limited Liability Company, is authorized to make any and all other contracts,
agreements, stipulations and orders which they may deem advisable for the effective exercise of the powers indicated on page one, from time to
time with the Financial lnstitution, subject to any restrictions on this resolution or otherwise agreed to in writing.

(4)All transactions,` if any, with respect to any deposits, withdrawals rediscounts end borrowings by cr on behalf of the Limited Liability Company
with the Financial institution prior to the adoption of this resolution are hereby ratified, approved and confirmed.

iElThe Limited Liability Company agrees to the terms and conditions of any. account agreement, properly opened by any Agent of the Limited Liability
Company. The Limited Liability Company authorizes the Financial institution, at any time, _to charge the Limited Liability-Company for all checks,
drafts, or other orders, for the payment of money, that are drawn on the Financial lnstitution, so long as they contain the required number of
signatures for this purpose

i6)The Limited Liability Company acknowledges and agrees that the Financial institution may furnish at its discretion automated access devices to
Agents of the Limited Liability Company to facilitate those powers authorized by_ this resolution or other resolutions in effect at the time of
issuance The term "automated access device'- includes, but is not limited to, credit cards, automated teller machines t_ATM), and debit cards

(7)The Limited Liability Company acknowledges and agrees that the Flnancial institution may rely on alternative signature end verification codes issued
to or` obtained from the Agent named on this resolution. The term "altemative signature and verification codes" includes, but is n`ot limited to,
facsimile signatures on file with the Financial institution, personal identification~numbers (PlN), and digital signaturesl if a facsimile signature
specimen has been provided on this resolution, (or that are filed separately by the Limited Liability Company with the Financial institution from time
to timei the Financial lnstitution is authorized to treat the facsimile signature as the signature of the Agent(s) regardless of by whom or by what.
means the facsimile signature may have been affixed so long as it resembles the facsimile signature specimen on file. The Limited Liability Company
authorizes each Agent to have custody of the Limited liability Company' s private key used to create a digital signature and to request issuance of a
certificate listing the corresponding public key. The Financial institution shall have no responsibility or liability for unauthorized use of alternative
signature and verification codes unless otherwise agreed in writing.

Pennsylvania. The designation of an Agent does not create a power of attorney; therefore, Agents are nat subject to the provisions of 20 Pa.C.S.A.
Section 5601 et seq. iChapter 56; Decedents, Estetes and Fiduciaries Codei unless the agency was created by a separate power of attomoy. Any
provision that assigns Financial institution rights to act on behalf of any person or entity is not subiect to the provisions of 20 Pa.C.S.A. Secu'on 5601
et seq. iChapter 56; Decedents, Estates and Fiduciarias Code).

 

FOR FlNANC|AL lNSTlTUTION USE 'ONLY

Acknowledged and received on idate) by (initials) l:l This resolution is superseded by resolution dated
Comments:
B@H§:' @ iaas, 1997 centers systems im., si. cwua, MN Form uc~i 511/2003 ipva 2 of 21

Agarwal Attachment E-14

 

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 36 of 111
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:GUARANTY BANK
Az\n) TRUST COMPANY

 

 

 

 

OWNERSHlP OF ACCOUNT - CONSUMER (Selec‘t One and lnltial):

l:i Single-Party Accomt |:l Trust-Saparata Agraamant

 

ij Mulripla-Pany Account
E Othar

 

 

 

 

RIGHTS AT DEATH (Select One And lnitlal}:
Singla-Party Account
Multipla-Party Account With Right of Survivorship

 

Multiple-Party Account Without Right of Survivorship
Single-Partv Account Wlth Pay On Death
Multipla-Party Account With Right of Survivorship

and Pay On Daath
FAV-ON-DEATH BENEF|C|ABES: To Add Fey-On-Death Baneficieries Name One or More:

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AccouNT
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ACCOUNT OWNER(Sl NAME & ADDRESS
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SU|TE 202
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w Permanent i:] Temporary account agreement.

 

 

 

 

 

OWNERSHlP OF ACCOUNT - BUS|NESS PURPOSE
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BUS|NESS: lNTERNET MARKETING

 

se%ten§i¢.tn ADAMS, COLORADO

 

 

 

 

 

 

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DATE oPENED 12/02/2014 By BSSQALMi
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|:| cASH gi cHEcK |:i

HoME TELEPHONE # 720-238-2418

 

Bus\NEss PHONE # 720'238~2418

 

DR|VER'S L|CENSE #

 

E-MAIL

 

EMPLO¥ ER

 

MOTHER'S MA|DEN NAME

 

Name and address of someone who will alwavs know vour |ocation:

 

 

 

 

BACKUP WlTHHOLD|NG CERTIF|CAT|ONS
T.N, XX-XXXXXXX

 

m TAXPA¥ER|.D. NUMB£R - The Taxpayer Idettifleetion Nuntcer shown above (TlN)
is my conect taxpayer identification mmtber.

M BACK|I|’ W|THliollllliiG - l am not subject to baokup withholding either because l
ime not been notified that lam subject to backup withholding as a result of a failure to
report all interest or dividends ortho lntema| Revenue Servioe has notltied ne that l am
no longer subject to backup withholding

ij EXEMPT llEClPIEiiiTS -| am an exerrmt recipient under the |ntemai Revemte
Service Regulations.

SlGNATURE: l certify under pooo¢alti of perjury misstatements checked in this
section and that l am a U.S. citizen or other U.S. person las delined in the
instructional

 

 

 

 

Number of signatures required for withdrawal 001
FACS|MILE SlGNATURE(S) ALLOWED? E] VES m NO

[X ]

SlGNATURElSl ~ The undersigned certifies the accuracy of the
information he/she has provided and acknowledges receipt of a
completed copy of this form. The undersigned authorizes the
financial institution to verify credit and employment history and/or
have a credit reporting agency prepare a credit report on the
undersigned. as |ndlviduals. The undersigned also acknowledge the
receipt of a c and agree to the terms of the following
agreement(s) and or dlsciosure(s):

m Terms & Conditions |:] Truth in Savings m Funds Availabi|i‘ty
|:l Electronic Fund Transfers I:l Privacy M Substitute Checks
m Common Features m

(1): L@"W:§~TI ]
1 /2/2014 10:33:02

DAN|ELLE CAROLYN FOSS

|.D. # -3082 D.o.a. =!984

 

 

 

 

(2): L -
|.D. # D.O.B.

(3): L _
|.D. # D.O.B.

(4): L _
|.D.# D.O.B.

 

AGENCY iPOWER OF ATTORNEY) DES|GNAT|ON (Optionali: `|:o Add
Agency Designation To Account, Name One or More Agents:

 

(Se|ect One and lnitial):
l:] Agency Designation Survives Disabdity or incapacity of Partias

 

x Mz‘¢ _
MTNTPCUbb []:(., (Date) [:| Agency Designation Terminetes on Disebility or incepecityof Partiea
Signature Card-CO MPSC-LAZ-CO 10/ 1/2009
Bankers $ystamsTM Agarwal Attachment E~15

Wohers Kluwer Financial Services © 1992, 2009

Page 1 oi 'l

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uan uABiuTv coMPANv AurHonizATioN nesoLuTioN
By: MiNT HousE LLC

GUAPANTY BANK §‘Lll§§§§m ST

 

 

 

 

AND TRUST COMPANY L°“'S"'LLE°°S°°”
Referred to in this document as "Financial lnstitution" Referred to in this document as "Limited Liability Company'
|, DANlELLE CAROLYN FOSS , certify that l am a Manager or Designated Member of the above named Limited Liabi|'rty
Company organized under the laws of COLORADO , Federal Emp|oyer |.D. Number 27~3359961 ,
engaged in business under the trade name of MlNT HOUSE LLC , and that the resolutions on

 

this document are a correct copy of the resolutions adopted at a meeting of all members of the Limited Liability Company or the person or persons
designated by the members of the Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an
operating agreement, duly and properly called and held on 12/02/2014 (datel. These resolutions
appear in the minutes of this meeting and have not been rescinded or modified.

AGENTS Any Agent listed below, subject to any written iimitations, is authorized to exercise the powers granted as indicated beiow:

 

 

 

 

 

 

 

Name and T'nle or Pas'nian signature Facsimiie signature in used)
A. DAN|ELLE CAROLYN FOSS-MANAGER x wi . X
e x x
c. x x
o x x
E. x x
F. x 4 x

 

 

FOWERS GRANTED (Attach one or more Agents to each power by placing the letter corresponding to their name in the area before each power.
Following each power indicate the number of Agent signatures required to exercise the power.]

icate A, B, C, Description of Power lndicate number of
, E, and/or F signatures required
A (1) Exercise all of the powers listed in this resolution. 1

(2) Open any deposit or share account(si in the name of the Limited Liability Company.

(3) Endorse checks and orders for the payment of money or othenivise withdraw or transfer funds on deposit
with this Financial institution.

(4i Borrow money on behalf and ln the name of the Limited Liability Company, sign, execute and deliver
promissory notes or other evidences of indebtedness.

(5i Endorse, assign, transfer, mortgage or pledge bills receivabie, warehouse receipts, bills of iading, stocks,
bonds, real estate or other property now owned or hereafter owned or acquired by the Limited Liability
Company as security for sums borrowed, and to discount the same, unconditionally guarantee payment
of all bills received, negotiated or discounted and to waive demand, presentment, protest, notice of
protest and notice of non~payment.

i6l Emer into a written lease for the purpose of renting, maintaining, accessing and terminating a Safe
Deposit Box in this Financial lnstitution.

(7) Other

 

 

LlMlTATlONS ON POWERS The following are the Limited Liability Company’s express limitations on the powers granted under this resolution.

EFFECT ON PREV|OUS RESOLUT|ONS This resolution supersedes resolution dated . |f not completed, all resolutions remain in effect.

CERT|F|CAT|ON OF AUTHOR|TY

l further cenify that the Managers or Deslgnated Members of the Limited Liability Company have, and at the time of adoption of this resolution had, full
power and lawful authority to adopt the resolutions on page 2 and to confer the powers granted above to the persons named who have full power and
lawful authority to exercise the same. (Apply seal below where appropriate.l

in Witness Whereof, l have subscribed my name to this document and affixed the seai, if any,
. of the Limited Liability Company on (datel-

DU%

' At'test by One Other Manager or Designated Member Manag'er'or Uesignated Member

E,@?~Q: © 1985, 1997 emma systems, inc.,sr. claim,~m me LLC-1 slt/2003 Agarwal Attachment E'16 Ipage 7 of 2}

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As used in this resolution, the term "Manager" means the person or persons designated by the members of the Limited Liability Company in a

manager-managed Limited Liability Company to manage the Limited Liability Company as provided in the articles of organization or an operating

agreement. The term "Designated Member" means the member or members of the Limited Liability Company authorized to act on behalf of the Limited

` biiity Company in a member-managed Limited Liability Company. By signing this resolution, Manager or Designated Member represent that they

.ve provided the Financial institution with true and complete copies of the articles of organization and operating agreements of the Limited Liability
ompany as amended to the date of this resolution.

The Limited Liability Company named on this resolution resolves that,

iii The Financial institution is designated as a depository for the funds of the Limited Liability Company and to provide other financial accommodations
indicated in this resolution.

(2) This resolution shall continue to have effect until express written notice of its rescission or modification has been received and recorded by the
Financial lnstitution. Any and all prior resolutions adopted by the Managers or Designated Members of the Limited Liability Company and certified to
the Financial institution as governing the operation of this Limited Liability Company's account(s), are in full force and effect, until the Financial
institution receives and acknowledges an express written notice of its revocation, modification or replacement. Any revocation, modification or
replacement of a resolution must be accompanied by documentation, satisfactory to the Financial institution, establishing the authority for the
changes.

(3) The signature of an Agent on this resolution is conclusive evidence of their authority to act on behalf of the Limited Liability Company. Any Agent,
so long as they act in a representative capacity as an Agent of the Limited Liability Company, is authorized to make any and all other contracts,
agreements, stipulations and orders which they may deem advisable for the effective exercise of the powers indicated on page one, from time to
time with the Financial lnstitution, subject to any restrictions on this resolution or otherwise agreed to in writing.

i4) Aii transactions, if any, with respect to any deposits, withdrawals, rediscounts and borrowings by or on behalf of the Limited Liability Company
with the Financial institution prior to the adoption of this resolution are hereby ratified, approved and confirmed

(5) The Limited Liability Company agrees to the terms and conditions of any account agreement, properly opened by any Agent of the Limited Liability
Company. The Limited Liability Company authorizes the Financial institution, at any time, to charge the Limited Liability Company for all checks.
draftsI or other orders, for the payment of money, that are drawn on the Financial institution, so long as they contain the required number of
signatures for this purpose.

i6) The Limited Liability Company acknowledges and agrees that the Financial institution may furnish at its discretion automated access devices to
Agents of the Limited Liability Company to facilitate those powers authorized by this resolution or other resolutions in effect at the time of
issuance. The term "automated access device" includes, but is not limited to, credit cards, automated teller machines (ATMi, and debit cards.

(7) The Limited Liability Company acknowledges and agrees that the Financial institution may rely on alternative signature and verification codes issued
to or obtained from the Agent named on this resolution. The term "aiternative signature and verification codes' includes, but is not limited to,
facsimile signatures on file with the Financial |nstitution, personal identification numbers (PiNl, and digital signatures if a facsimile signature
specimen has been provided on this resolution, (or that are filed separately by the Limited Liability Company with the Financial institution from time
to timel the Financial institution is authorized to treat the facsimile signature as the signature of the Agent(sl regardless of by whom or by what
means the facsimile signature may have been affixed so long as it resembles the facsimile signature specimen on file. The Limited Liability Company
authorizes each Agent to have custody of the Limited Liability Company’s private key used to create a digital signature and to request issuance of a
certificate listing the corresponding public key. The Financial institution shall have no responsibility or liability for unauthorized use of alternative
signature and verification codes unless otherwise agreed in writing.

Qe

nnsyivania. The designation of an Agent does not create a power of attorney; therefore, Agents are not subject to the provisions of 20 Pa.C.S.A.
Section 5601 et seq. iChapter 56; Decedents, Estates and Fiduciaries Codel unless the agency was created by a separate power of attorney. Any
provision that assigns Financial institution rights to act on behalf of any person or entity is not subject to the provisions of 20 Pa.C.S.A. Section 5601
et seq. iChapter 5¢; Decedents. Estates and Fiduciaries Codei.

 

FOR FINANClAL lNSTlTUTlON USE ONLY

Acknowiedged and received on (date) by___ (initialsi El This resolution is superseded by resolution dated

Comments:

E,@M‘ © 1985, 1997 emma systems, inc., si. cinua, MN me LLC-1 alt/2003 Aga'wal Attachment E'17 {page 2 of 2}

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PX3`
Agarwal Attachment E
TCF Bank Records

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CERTIFICATION OF RECORDS OF REGULARLY CONDUCTED ACTIVITY
Pursuant to 28 U.S.C. § 1746

 

l. l, \l(_l ifl€§<;`\[i X‘\r(] (-l\l , have personal knowledge of the facts set forth below
and am competent to testify axis follows:
2. I have authority to certify the authenticity ofthe records produced by TCF Nationai Bank
and attached hereto.
3. The documents produced and attached hereto by TCF National Bank are originals or true
copies of records of regularly conducted activity that:
a) Were made at or near the time of the occurrence of the matters set forth by, or
from information transmitted by, a person with knowledge of those matters;
b) Were kept in the course of the regularly conducted activity of TCF Nationai
Bank; and
c) Were made by the regularly conducted activity as a regular practice of TCF

Nationai Bank.

I certify under penalty of perjury that the foregoing is true and corrcct.

Execmed on §§ Qi;_ iq ,2016.
\lwu stephen

Signature wl

Agarwal Attachment F-1

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 41 of 111

 

Business Account Application and Agreer
Checking Accounts and Savings Account:

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Pagé t of 5

Agarwal Attachment F-2

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 42 of 111

 

Account Number (the “Account”} 1267

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Card S.Mlhmzed Sign¢fN&'ne(TlilB} ' ` Dziedail'lh Sodal$eouliy#
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rome runwan casale/mccann mm mm
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lD Type |lD Number lO Slatel ID Cmrmry issue Dale imitation Dale

DEFleons

. "Account" means the ehed:ing or savings aecounl(s) listed above.

"Aecannl Contract” means: (1) lhisAgreement; (2) TCF's Terms and C¢nr§!icm lar Chedrb'cg and Savr`ngs Awolmls (axcapt for candidates of
deposit) or TCF's Terms and Conoidans forcem`ii:ares {for eerviieetes of deposiz): (3) TCF's Depost Account Sem`ws and Pnaes $dzedule; (4)
TCF‘s Cvrrenl Ra!es and Yralds sdlednle; ($) the `l'Cl’-' privacy Po§cy (`d app§uble); and (6) any add'dlonal agreemenls between you and TCF and
any additiona! disclosures thai TCF may give you. TCF may change yourAcmun\ Concracz from time lo time upon notice lo ydu.

"Afliliates' means any company 'diredliy or indi:el:ly owned by us or TCF F`manu‘al Corporation.

"Au¢horized Slgner‘" means the Aulhorized Signers named on pages one and two of misAgreement.

°AvaRahle Balauce" has the meaning defined in TCF's Terms and Cmditions lof Cheddhg and SaVingsMwlts.
*TCF," "TcF Bank,” "we," "us.” and "ow" mean: TCF@ National Bank We are owned by TCF Financial Corpa)adon.

"You" and “your' mean each person or entizy named above as Cus!omer. ll mere is more than one Awoum owner. 'yau' and ‘yom" mean each
owner individually and all owners togewer.

 

YOUR ACCOUNT

you are the legal ownerol t|'ceAwoum. which exists as soon as you make a deposit le lr. TCF does not have to allow any withdrawals or transfers
from the/imm until: (1) summarized Signershave signed lhisAgreement and any overdocumerualion M'TCF requires. and returned thermo
us;and(!) aBdmerterms olywAceounlCordrauwich TCF havebeenmel.

 

ELECTRONIC COMMUN|CATION$

ln this sealsn, ‘you' and ‘your' mean you, the Cumomer named above, and ead'r Authorized Signe:.

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Paga 2 of 5
Agarwal Attachment F-3

 

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 43 of 111

Account Number (the “Account”) -267

 

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Page 3 of 5
Agarwal Attachment F-4

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 44 of 111

 

Account Number (tha “Account") -5257

CERT|F¥CATION OF FEDERAL TAXPAYER lD€NTlFlCA`nON NUMBER

(ln this certilieation betow, °l.' °me,' and ’my' mean the Authorized Signer on behalf of therth owner.)
under penaloes ot perjury l certify on behalfol theAeeoumowner that:

t. The social seasity number or employer domination number shown on this form is the Account o~vner's correct taxpayer identification number (orl
am waiting for a number to be issued tvocount owner); and

2. The Account owner is not subject to vadrup withholding because:. (o) the Awounl owner is exempt from backup withholding m (b) the Account
mathes notbeen noti&ed bythelnternalRevemre Servioe (lRS) thattheroount ownerissubiedtobadrupwilhho!ding asaresuitofa iailure to
report atl interest or dividends or (c) the IRS has notined the Account owner that the Aeoounl owner is no longer subject to bad<up withhotdhrg and

3. The Account owner is a U. citizen or other U.S. person, as defined below (mduding a U,S. resided alien).

`.` t ll IL` t. ad date \;'ZO’I ,Z

Deflnition of a U.S. Person. F federal tax purposos, you are considered a U.S. person ifyou are:
~ An individual who is a U.S. dozen or U.S. resident alien;
- A pannership. corporation company orassodation created or organized in the um'ted States or under the laws of the united States;
» An estate (olher than a foreign estate); or
~ A domestic trust (as denned in internal Revenoe Servioe Rogulations section 301.7701~7).
lt you aro not a "U.S. Ferson." please complete Form W~B BEN instead of signing this certification

    

 

ACKNOWLEDGEMENT

The Authorized Signers sdctowledge that they have received a copy of: (1) thisAgreement; (2) TCF's Termsand Conc$ions forC!redn’ng end
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TO OPEN AN ACCOUNT, THIS AGREEMENT MU$T BE SlGNED OR lNlTlALED
BY THE APFROPR|ATE PERSON lN ALL FLACES WHERE INDICATED.

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Agarwal Attachment F~5

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 45 of 111

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 46 of 111

Account Number five “Account") _5258

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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We may also send you promotional information by emai! or text message. This may include information about TCF products and serrrioes.
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page 2 of 5
Agarwal Attachment F-7

 

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 47 of 111

A°°°""* Number live “Account") 1268

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ARBITRATION AGREEMENT ACKNOWLEDGEMENT

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Agarwal Attachment F-8

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Account Number (the “Account") -258

 

CERT|F|CAT|ON OF FEDERAL TAXFAYER iUENTIFlCATlON NUMBER

(ln this certification below. 'l,' 'rne.° and ‘rny' mean the Authorized Signer on behalf of the Account owner.)
Undor penalties ofperiury_ l certifycm behaliofthehccount ownerthat:

1. The social security number orempbyer identincatron number shown on this ¢orm is theAcoount owner's correct taxpayer identification nume (orl
amwaiting fora mannertobe issuedloAccountowner);and

2. The Account owner is not subject to hadtup withholding because (a) the Account owner is exempt from backup wimhdding; or (b) the Account
methosnotbeennotihedbythe|ntemai Revertue$ervice (|RS)thatlheAwountowneris subiedtobadrup\rdthhotding asaruultofaiaiiureto
report att interest or dividends; or (c) the lRS has notilied theAccoum owner that the Amount owner is no longer subject to had<up vnthholdir\g; and

3. TheAccount owner is a U. citizen or other U.S. person, as defined below (indudirrg a U.S. resident aiien).

Note: Certitication lnstructio . ou must cross out it - rn 2 above ii you have been noti§ed by the lRS that you are c\mentty subject to badcup
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signature oru.s.Pas-om ",. . _i 3\ care \?/'7/0 ' `F>

Detinition ofa U.$. Person. -» erai tax you are considered a U.S. person ifyou are:
- An individuaiwho is a U.S. dtizen or iJ.S. resident alien;
' Apartnership. corporation company or assocstion created or organized in the united States or under the laws olthe United States;
- An estate (other than a ioreign cstate); or
' Adomesoctrum (as defined in internal Revenue Senrice Reguiations section 301.7701-7),
lf you are not a “U.S. Ferson." please complete Form W-B BEN instead of signing this certi£cation

     
 
  
 

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ACKNOWLEDGEMENT

TheAud'rorized Signersadmowledgethattheyhave received a copyoi: (1) tidsArgreement;{Z)TCF's Ten'nsand€ondrh°onstorchedo'ngand
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TO OPEN AN ACCOUNT, TH|S AGREEMENT MUST BE SiGNED OR lNlTlALED
BY THE APPROFRIATE PERSON |N ALL PLACES WHERE iNDiCATED.

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Agarwal Attachment F-9

CaS€ 2217-CV-OZOOO-APG-GWF DOCUm€n'[ 8-3 Filed 07/24/17 Page 49 Of 111

Account Number (the “Account") -253

 

CERT|F|CATION

This section does not apply to sole proprietorships, unincorporated community groups,
or if separate corporate resolutions or partnership agreements are provided.

The undersigned do hereby certilr
l.Thattheyare:

Olfrcersoi acorporationorganizedandexistingunderthelawsoltitestateoi

 

Managers of a limited liability company organized and exotier under the laws or the state of
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organized and existing under the lam of the state of

 

 

D Oflicersorotherauthorizedmembersolanunirrcorporated associationorganized andexistingundertheiawsolthesrateol

. The undersigned admo\vledge that they. and all other memoers cl the association are join® and
severally vote lor all debtsand ob¥gations ol weassociation

 

D Oflicers or other duly appointed otiicial cl a public unit organized under the laws of the state cl

 

CJ The managing partners or the general pamers ol . a t'.'.'l pannershrp. or D wood liability partnership

organized and existing under die laws of the stale ot ; and that they constitute ali oi the
managing or general partners cl the pamership. The undersigned adtrrowledge that they. and each other partner (or general partner_ if a
limited liability partnership). are jointly and severally liable lor all debts and ob@ations of the partnership
The foregoing corporaticn. &rnited liability company tn.rst. pubic unit. association organization, or partnership is hereinafter relerred to as the
‘Organization.'

2. That the fumis!a’ng of this Certihcation by the undersigned and entry into the foregoing Account Agreement by the Authorized Signers on this
Organization`s b~ehall dc not violate the Organization's articles of incorporation or bylaws, artides cl organization or operating agreement partnership
agreement, member control agreement. or other organizational documents as applicable or applicable law governing the Organization

 

3. That the individuals named or identi&d as Authorized Signers in the foregoing AmountAgreement have been duly elected or appointed to. and now
hold. the posidon with the Organization stated above

4. Thar the signatures appearier on the foregoing Account Agreement are the true signatures of the resperaive Authonzed Signers.
S.Tlrat each old'reAulhoriar.-d Signersis duty authorizedto execute and delivertbe torego`mgAccountAgreement toTCF Nationai Bank ('TCF') on
misorganization's behalland to bindthis Organization tothe terms thereon and tocause this Organization to enterirrto anyorallolthe transactions

contemplated in theAmount Agreement; that sudt authorization is evidenced try duly adopted resolutions or other action ottlre board orgovembg
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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 50 of 111

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SCOTTSDALE AZ 85258 4

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STUB 0F THIS NOTICE.

HE ASSIGNED YOU AN EMFLUYER IDENTIFICATION NUMBER

Thank you for applying for an Employer Identification Number (EIN). We assigned
you EIN 90~0870007. This EIN will identity you, your business accounts, tax raturns,
and documents, even if you have no employees. Floase keep this notice in your
Permanent records.

when filing tax documents, payments, and related correspondence. it is very
important that you use your EIN and complete name and address exactly as shown above.
Any variation may cause a delay in processing, result in incorrect information in your
account, or even cause you to be assigned more than one EIN. lt the information
is not correct as shown above, please make the correction using the attached tear off

stub and return it to us.

A limited liability company (lLC) may file form 3832, Entity Classification
Election, and elect to be classified as an association taxable as a corporaticn. lt
the LLC is eligible to be treated as a corporation that meets certain tests and it
will be electing S corporation status, it must timely file Foro 2553, Election by a
Small Business Corporation. The LLC will be treated as a corporation as of the
effective date of the S corporation election and does not need to file Form 8832.

To obtain tax'forms and publications, including those referenced in this notice,
visit our Web site at uww.irs.gov. If you do not have access to the Internet. call
1-800~829~3676 (TTY/TDD 1~800-829'4059) or visit your local IRS office.

IMPDRTANT REHINDERS:

§ Reep a copy of this notice in your permanent rocords. This notice is issued
only one time and IRS will not be able to generate a duplicate copy for you.

§ Use this EIN and your name exactly as they appear at the top of this notice
on all your tederal tax torns.

§ Refer to this EIN on your tax~related corresgondence and documents.

. If you have questions about your EIN, you can call us at the phone number or
write to us at the address shown at the top of this notice. If you urite, please
tear off the stub at the bottom of this notice and send it along with your letter.
If you do not need to write us, do not complete and return this stub. Thank you

for your cooperation.

Agarwal Attachment F-1 1

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 51 of 111

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 53 of 111

   

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any addhbnal disdosures ibm TCF may give you. TC.F may change ymnAmm contract from time to fmc upon nodce to you.

"Affl!iats" means any company dire:dy or indirectly owned by us orTCF F'mancia! Corporation.

"Authorized Slgner" means the Amhorized Signers named on pages one and two of this Agreemem.

‘Available Ba£ance" has the meaning defaed in TCF's Temz.s and Cmdit£ons loerecHng and$avings Acmun!s.
"TCF," "TCF Bank,' “we," ”us,” and "our“ mean: TCFc National Bank We are owned by TCF Fmandal Corpuration.

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YOUR ACCOUNT

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us; and (2) ad other terms olyomacmum Contramu`rh TCF have been met `

 

ELECTRON|¢ COMMUN|CAT|ONS
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commiwion or by meeting TCF Customer Service.

Page 2 of 5
Agarwal Attachment F-14

 

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Account Number (the "Account") lzse

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ARB¥TRATION AGREEMENTACKNOWLEDGEMENT

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Page 3 d 5
Agarwal Attachment F-15

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 55 of 111

Account Number [the "Account") lisa

CERT|FFCAT!CN OF FEDERAL TAXPAYE.=¢ lDENTIFlCATlGN NUMBER

(ln this dedication below. ‘l,' ‘me.‘ and ‘my° mean the Authnrized Signer on behalf of lheAm:ount owner.)
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2. The Account owner is not subject to backup withholding because: (a) the Account owner is exempt from badcup withholding or (b) the Account
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repm all ht‘_‘resl or dividends; or (c) the lRS has owed theAa:ounr owner that the Aowunt owner `s no longe: su§ec: 10 backup withholding and

side Account mar is a l_J.S. citizen or other U.S. person. as defmed below (moluding a U.S. resident alien).

Nota: Cenitlcatlon lnstnrcrio ¥ou must cross out item 2 above if you have been noti§ed by the IRS thal you are mnemly subject lo backup
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Denrntlon of a U.$. Person. For federal m purposes, you are considered a U.S. person ifyou¢are.
' An individual who is a U,S. citizen or U.S. resident alien; v
- A parmership. corporation ooan or association created or organized in the United States or under tile laws of the United Sla¢es;
» An estate (olher than a forelgn estale); or
- A domestic trust (as denned in lnlemal Revenue $ervlce Regumans season 301.`7701-7).
lf you are not a “U.S. Ferson," please complete Form W~B BEN lns‘.ead of slgnlng this certification'.

 

 

     

 

 

ACKNOWLEDGEMENT

The Autl\ori:ed Signers admuwwdge that they have received a copy ot (1) this Agree.ment; (2) TC.’-"s Terms and erditions for C!:eda'ng and
$am'ngsAccaunts; (3) TCF's Deposr°tAcwum Sem'oes and Prr’oes Sdledule; (4) TCr'-‘s Currenl Ralos and Yzelds sd'ledule; and (S) the TCF Privacy
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Agarwal Attachment F-16

.Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page- 56 of 111

` Added eM.

Business Account Application and Agreement
Savings and Certificate of Deposit Ac_counts

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Account Number (the “Account") 155

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 59 of 111

Account Number (the "Account”) '265

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This section does not apply to sole proprietorshtps, unincorporated community groups.
or if separate corporate resolutions or pattnetslrip agreements are provided.

 

 

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Account Number (the “Account") -5439

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Page 2 of 5
Agarwal Attachment F-22

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 62 of 111

 

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Account Number (the “Account”) -5439

 

. CERTlFlCAT|ON OF FEDERAL TAX?A`{ER lDENT|F|CATlON NUMBER

(ln this certillmtioo below, °l,‘ " ,' and 'my' mean the Authorizecl S`rgner on behalf of theAccount owner.)
Under penalties of perjury, t candy on behalfotthe Account owner that

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2. The Account owner is not subject to bade withholng because (a) the Amunt owner ts exempt from badtup nnthhotdlng; or (b) the Accotmt
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report all interest or dividends or (c) the lRS has notiEed the Account owner that the Account owneris no longer subject to bade wwthotding; and

3. The Account owner is a U.S. citizen or other U.$. person, as denned below (including a U.S. resident alien).
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Slgnature of U.S. Person: M< \ Date / cl ’ l (7 f /3

Definltlon of a U.S. Person. For federal tax purposes, you are considered»a U.S. person ifyou are:
~ An individual who ls a U.S. citizen or U.S. resident allen; y
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~ An estate (otlter than a foreign estate): or
' Adomestic trust las denned ln lnternal Revenue Servlce Regulatlons section 301 .7701-7].
ll you are not a “U.S. Person,° please complete Form W-B BEN instead of signing this certification

 

ACKNOWLEDGEMENT

The Autnorized Srgners acknowledge that they have received a copy of: (1) thisAgreemertt; (2) TCF's Terms and Cond`vtr‘ons for Checkbrg and
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You and each cl the Autnori:ed Signers agree that the Ownershlp Type designated on page one accurately describes the company or organization
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Page 4 of 5
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"Avai|able Ba!ance" has the meaning de&ned in TCF°s Terms md CorMns for Cbeddng and Savr`ngs Aorxnrn!s.
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Account Number (the “Account") .“0

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Agarwal Attachment F-32

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Account Number (the “Account") -M°

 

 

CERT|F|CAT!ON OF FEDERAL TAXPAYER lDENT|F|CATiON NUMBER

(ln this certihcetion below, ‘|,' ’me,' and 'my' mean the Authorized Signer on behalf of the Amount owner.]

Under penalties of periury, l certify on behalf of the Account owner that 4

1. The social seasrny number or empioyer identitiation number shown on this form is the Awount owners correct taxpayer identiwtion number (or l
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2. The Account owner is not subject to badnrp withhctdmg because (a) the Accotmt owner rs exempt from backup vnthhoiding: or (b) the.Amurtt
owner has not been notified by the internal Revenue Service (lRS) that the Account owner is subject to backup withholding as a result ot a fanure to
report atlinterestordividends; or{c)the tRS has notihed thercountowr-rerthatthr.-Acmuntowneris no longer subieottohadrup withholding and

3. TheAwount owner is a U.S. r:’tizen or other U._S.,pgrson. (inctudng a U.S. resident aEen).
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¢ An individual who is a U.S. o'tizert or U.S. resident alien; _
- A pamership. corporation oompany. or association created or organized in the United States or underthe laws ot the United states;
~ An estate (otherthan a foreign estate); or
- Adomestro trust (as defined in internat Revenue Servioe Regulawns section 301.7701-71
lt you are not a 'U.S. Person," please complete Form W-8 BEN lnstead of signing this certification

 

ACKNOWLEDGEMENT

TheAuthorized Signers admowtedge thatthey have received a copy ot (t)this/tgreement; (Z)TCF‘s Tennsandcmrditionsforcnooldngand
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TO OPEN AN ACCOUNT, TH!S AGREEMENT MUST BE SlGNED OR lN|TlALED
BY '¥HE APPROPRIATE PERSON IN ALL PL.ACES WHERE lND|CATED.

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Agarwal Attachment F-33

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Agarwal Attachment F-34

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 74 of 111

 

Business Account Application and Agreement
Savings»and Certificate of Deposit Accounts

 

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Account Number (the “Account") _-§44°

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Agarwal Attachment F- 7

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 77 of 111

Account Number (rhe “Ac¢ounr") .440

 

CERT!F|CATION

This section does not apply to sole proprietorships, unincorporated community gmups,
or if separate corporate resoiutions or partnership agreements are provided.

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Keybank Records

"Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 79 of 111

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Si`ATE OF OHIO
COUNTY OF CUYAHOGA ) SS: Brookvi|le Lane LLC

Now comes Jennifer Kowicki, being first duly sworn, deposes and says the foilowing:
1. I am Custodian of Records for Ke Bank N ' and I have knowledge
of the matters herein referred to.

2. Attached hereto, and made a part of hereof, are true and correct copies of the original
documents of KeyBank N§tioggl mg'_ag'on. These records are maintained in the
normal course of business at K§!Bank Na§gg§! wo§iatigg.

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Sworn to before me and subscribed in my presence, this 29th day of September, 2016.

    
 

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Agarwal Attachment G-1

 

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Agarwal Attachment G-2

 

 

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Agarwal Attachment G-3

 

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Agarwal Attachment G-4

 

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Agarwal Attachment G-5

 

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Agarwal Attachment G-6

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Agreemom and Dlsclosures gomnmg this Aeootmt.

lt ls agreed that an medium on this Awor.tm shall be subject to the existing DepositAccoum Agremnent»and Dlsdosures as wall as any amendments thereto
here_ciltermsde Byexecutlng this signature card, each signer shall pebotmd by the terms mdlcondlilons.of said Deposit Ac`countAgreemantand Dlsdosuras . lt ls

mdmtwm»meammydestgnm hymeoorporawornan»wrpmemaeposwy denmwceorrésomononole.sucvmumw pegrvemoeacnomoearmeankm

which this Account ls mwtair\ed. until»sud\ notice is acmeliy received . the auiiwrlty conferred herein to tha above noted signatories shall remain in full force and effect
and the Bank shall be metan and saved hamm from any loss suilened orllabi|lty inwood by it ln continuing to act in pursuance or this signature card .

l oem‘ly mattheabove are the true and genuine signatures ofaml\orizedaigner(s) with their respective title.~aurhorlzed~toslgn forms Enlity.

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Agarwal Attachment G-7

 

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 86 of 111

PX3
Agarwal Attachment H
US Bank Records

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CERTIFICATION OF RECORDS OF REGULARLY CONDUCTED ACTIVITY
Pursuant to 28 U.S.C. § 1746

 

l. I, H\\ C/`\ou S\:)ZU\ K._ , have personal lmowledge of the facts set forth below
and am competent to testify as follows:
2. i have authority to certify the authenticity of the records produced by U.S. Bank N.A. and
attached hercto.
3. The documents produced and attached hereto by U.S. Bank N.A. are originals or true
copies of records of regularly conducted activity that:
a) Were made at or near the time of the occurrence of the matters set forth by, or
from information transmitted by, a person with knowledge of those matters;
b) Werc kept in the course of the regularly conducted activity of U.S. Bank N.A.;
and
c) Were made by the regularly conducted activity as a regular practice of U.S. Bank

N.A.

I certify under penalty of perjury that the foregoing is true and correct.

Execui¢d on D@C 933 ,2016.

 

 

 

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Agarwal Attachment H-1

 

 

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Ubal'lk. slGNATuRE cARD - BuslNEss

   
 

nn§'4s5076536

PHONE: (303) 437-6485
ClTY: PHOENIX STATE: AZ ZIP: 85034~1908

TYPE OF BUS|NESS: Limited Llability Company - C Corp

`WPE OF ACCOUNT: Silver Business Checking

OVWERSHIP: Limited Liability Company

 

 

 

 

 

 

 

t 0
MEGAN E coooMAN-ARNDT, Joo -430
| DATE oPENE'o' ; os/"'osiz_ois_nme <PENEo: 01:49 PM oPENEo ev; En¢ c caraner oFFicE: 04563 j

 

 

Certillcatlon: Under penalties of perjury, l certify that:
(1) (XX-XXXXXXX) is my correct Taxpayer identification Number (or l am waiting for a number to be issued to me), and
(2) | am a U.S. Citizen or other U.S. person, and
(3) l am not subject to backup withholding because (a) l have not been notiiied by the Intemal Revenue Servlce (IRS) that l am
subject to backup withholding as a result of failure to report all interest or dividends. or (b) the |RS has notiiled me that | am no
longer subject to backup withholding
(4) The FATCA code(s) entered on this fonn (if any) indicating that | am exempt from FATCA reporting la correct

wm You must cross out item 3 above if you have been notified by the IRS that you are currently subject to
back up withholding because you have failed to report all interest and dividends on your tax return. For real estate transaction item
3 does not apply. For mortgage interest paid, acquisition or abandonment of secured property. cancellation of debt, contributions to
an individual retirement arrangement (|RA), and generally payments other than interest and dividend you are not required to sign the
Certiiication, but you must provide your correct TIN.

The lntemal Revenue Servloe does not require your consent to any provision of this document other than the cortltlcations
required to avoid backup wlthho|dlng.

E-sIcNed oc:/%zols by MEGAN E GoonMAN-ARNDT

 

 

 

 

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Terms And Conditlons: The bank is hereby authorized to recognize the signature(s) subscribed below |n the payment of funds or
the transaction of any business for this account All transactions shall be governed by applicable laws and the bank's terms (copy
acknowledged as received herewiih) that pertain lo the type of account and style of ownership indicated on this card. Upon request

of the bank, any consumer reporting agency is hereby instructed to furnish a consumer report relating to the undersigned to the

bank. Refer to resolution tile for authorization of signatures where authorization is required

By signing this signature card, you are also acknowledging your express consent to the terms and conditions in your applicable

account agreement. including but not limited to our policies on funds availability and our cellular phone contact policy.

E-SIGNed 06`//%015 by MEGAN E GOODllil-\N~litRl\l’DTv

 

 

 

 

 

 

 

ME NDT Date:

 

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Ubal'lk erNATuRE cARD - BuslNEss

. TlN: 36-47889¢

2850 W HOR|ZON R|DGE PKWY PHONE: (303) 835-7410

TYPE OF ACCOUNT: Silver Business Checking

  

ROBERT L MCEVOY, JOO

|DATE OPENED: 06110/2015 T|ME OPENED: 12:16 PM OPENED BY: Erlc G Gardrlel' OFF|CE: 04568 l

Ceriitlcatlon: Under penalties of perjury, i certify that: 7
(1) (XX-XXXXXXX) is my correct Taxpayer identiiication Number (or i am waiting for a number to be issued to me), and
(2) | am a U.S. Citizen or other U.S. person, and
(3) l am not subject to backup withholding because (a) l have not been notified by the intemal Revenue Service (|RS) that l am
subject to backup withholding as a result of failure to report all interest or dividends. or (b) the lRS has notilied me that i am no
longer subject to backup withholding
(4) The FATCA code(s) entered on this form (if any) indicating that l am exempt from FATCA reporting is correct

 

 

 

mmm_lgsl|m ¥ou must cross out item 3 above ifyou have been notified by the lRS that you are currently subject to
back up withholding because you have failed to report all interest and dividends on your tax retum. For real estate transaclim, item
3 does not apply. For mortgage interest paid. acquisition or abandonment of secured property, cancellation of debt, contributions to
an individual retirement arrangement (lRA), and generally payments other than interest and dividend you are not required to sign the
Certitication, but you must provide your correct TlN.

The lntema| Revenue Servioe does not require your consent to any provision of this document other than the certifications
required to avoid backup withholding

E-SIGNed. lO/ZOI|LAEA y ROBERT L MCEVOY
zatu.l'Z ‘ .

_RY' 'ERWEVOY bates
. Terms And conditions: The bank is hereby authorized to recognize the signature(s) subscribed below in the payment of funds or

 

 

 

 

 

 

the transaction of any business for this account Aii transactions shall be governed by applicable laws and the bank's terms (copy
acknowledged as received herewith) that pertain to the type of account and style of ownership indicated on this card. Upon request
of the bank, any consumer reporting agency is hereby instructed to fumlsh a consumer report relating to the undersigned to the
bank. Refer to resolution file for authorization of signatures where authorization is required

By signing this signature card. you are also acknowledging your express consent to the terms and conditions in your applicable
account agreement, including but not limited to our policies on funds availability and our cellular phone contact policy.

E-SIGNed 0 10/201Mi' y ROBERT L MCEVOY
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Ubal\k, erNATuRE cARD - BuerEss

    

  

AGCGBNT nl `

AooREss; 9465 oounser.ons now sTE 200 ap ' TrN; 465336296
Pr-roNE: (303) mar 52

   

 

chY: rNorANAPoLrs sTATE: rN zrr=>. 462403317
TYPE oF BuSINEss: Limited Liability company - s corp

TYPE or= AccouNT: saver Busrness checking
owNERsr-rrr=; Limited Liamrry company

 

 

 

 

 

 

 

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BLArR w McNEA .roo -1358
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Certiticatlon: Under penalties of ijuIy, | certify that
(1) (46-5336m) is my correct Taxpayer identliimtion Number (ori am waiting for a number to be issued to me), and
(2) l am a U.S. Citizen or other U.S. person, and
(3) | am not subject to backup withholding became (a) l have not been notitied by the |ntemal Revenue Service (lRS) that | am
subject to backup withholding as a result cf failure to report all interest or dividends, or (b) the lRS has notified me that l am no
longer subject to backup withholding
(4) The FATCA code(s) entered on this form (if any) indicating that l am exempt from FATCA reporting is corred.

QMMLMB ¥ou must cross out item 3 above it you have been notitied by the lRS that you are currently subject to
back up withhoiding because you have iailed to report ali interest and dividends on your tax retum. For real estate transaction. item
3 does not apply. For mortgage interest paid , acquisition or abandonment of secured property. cancellation of debt. contributions to
an individual retirement anangement (lRA)l and generally payments other than interest and dividend you are not required to sign the
Certitication, but you must provide your correct TlN.

The |ntemal Revenue Service does not require your consent to any provision of this document other than the certifications
required to avoid backup withholding

E-SIGNed 09/03/2§ BLAIR W MCNEA

'B'LA|BWHENEA care
. Terms And Cond|tlons: The bank is hereby authorized to recognize the signature(s) subscribed below |n the payment of funds or

 

 

 

 

 

the transaction of any business for this account Aii transactions shall be governed by applicable laws and the bank's terms (copy
acknowledged as received herewith) that pertain to the type of account and style ot ownership indicated on this card. Upon request
of the bank, any consumer reporting agency is hereby instructed to furnish a consumer report relating to the undersigned to the
bank. Refer to resolution tile for authorization of signatures where authorization is required.

By signing this signature card, you are also acknowledging your express consent to the terms and conditions in your applicable
account agreement, includinth not limited to our policies on funds availability and our cellular phone contact policy.

E-SIGNed 09/03/2§ BLAIR W MCNEA

BLA| R W MCNEA Dilte:

 

 

 

 

 

 

 

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 91 of 111

 

. Ubank REsoLuTloN oF LlMiTED LlABlLlTv coMPANY

Authority to open acoounts, make deposits, and withdraw funds

Account Number. -1358

l, BLAIR W MCNEA, HEREBY CERT|FY:

~ l am the duly elected, qualified and acting Secretary, Manager or Authorized
Member of the limited liability company named *SALAMON|E RlVER LLC
(“Company”), which is organized, validly existing, and in good standing under
applicable laws.

.- As of 09/03/2015 (date), this resolution is duly authorized, in full force and
effect, and has not been amended or rescinded.

- The following individuals are designated as authorized agents of the Com`pany.
The authorities granted by this resolution have not been revoked, moditied,
annulled or amended in any manner whatsoever. Any authority granted shall
remain in full force and effect until revoked in writing by the Company.

. AGENTS AUTHOR|ZED TO ACT ON BEHALF OF COMPANY
Additional individuals and their signatures may be noted on an attacwnent, if required

NAME l T|TLE SlGNATURE SPEC|MEN

E-SIGNed 09/03/2 BLAIR W MCNEA
BLA|R W MCNEA. §
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Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 92 of 111

RESOLUT|ON OF LlMlTED LlABlLlTY COMPAN¥ (CONT|NUED)
. Authority to open accounts, make deposits, and withdraw funds

|T IS RESOLVED THAT:
‘ U.S. Bankl N.A. (“Bank”) is designated as a depository of the Company.
v The authorized agents of the Company shall have the authority to:

o DEPOS|T the funds of the Company into the above-referenced account(s)
subject to the present and future account terms and conditions.

o WlTHDRAW the funds of the Company through any and all types of
transactions (inc|uding but not limited to: executing checks, drafts, bills of
exchange, acceptances, wires, funds transfers and other instruments and
orders for the payment of money). This authority includes any and all
transactions drawn to the individual order of an authorized agent and/or
deposited into the individual account of such authorized agent.

o PROV|DE instructions with respect to the account(s) of the Company and
enter into agreements relating to the account(s) of the Company on behalf
of the Company upon such terms and conditions as he or she may
deem appropriate.

o APPLY for and receive loans, lines of credit, and letters of credit on behalf
of the Company, including making pledges for property belonging to the
. Company as security to the Bank, and to execute and deliver any and all
notes, agreements or other documents necessary for such borrowing or
security on behalf of the Company.

~ The Bank is authorized to honor the facsimile or mechanical signature of any and all
authorized agents. A facsimile or mechanical signature is presumed valid regardless
of by whom or what means the facsimile signature may have been affixed as long
as the facsimile signature reasonably resembles the signature specimen of the
authorized agent. Company indemnihes and holds the Bank harmless from any and
all claims and liabilities arising from any transaction bearing a facsimile signature as
authorized in this resolution.

lN WlTNESS WHEREOF, this Resolution of the Company has been executed on 09/03/2015 (date).

E-SIGNed 09/03/2§ BLAIR W MCNEA

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(seaewy/ Member 1 Manager)

 

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Agarwal Attachment H-6

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 93 of 111

Ubank slGNATuRE cARD - BuslNEss

        

ADDRESS: 8888 KEYSTONE XlNG STE 1300 TiN: XX-XXXXXXX

PHONE: (303) 835-7410
C|TY: lNDiANAPOL|S STATE: lN ZlP: 46240-4600

TYPE OF BUSiNESS: Limited Liability Company - C Corp

TYPE OF ACCOUNT; Silver Bus|ness Checking

OWNERSHlP: Limited Liability Company

 

 

 

 

 

 

 

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RYAN w REchENBAcH. Joo
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Terms And Condltlons: The bank is hereby authorized to recognize the signature(s) subsonbed below In the payment of funds or
the transaction of any business for this awount_ Al| transactions shall be govemed by applicable laws and the bank‘s terms (copy
acknowledged as received herewith) that pertain to the type of account and style of ownership indicated on this wrd. Upon request
of the bank, any consqu reporting agency ls hereby instructed to fumish a consumer report relating to the undersigned to the
bank. Refer to resolution tile for authorization of signatures where authorization is required. `

By signing this signature eard, you are also acknowledging your express consent to the terms and conditions tn your applicable
account agreement, including but not limited to our policies on funds availability and our cellular phone contact policy.

E-SIGNed 09/01/2015 by RYAN W REICHENBACH

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WWBACH Date:
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Agarwal Attachment H-7

 

 

 

 

Case 2:17-cv-OZOOO-APG-GWF Document 8-3 Filed 07/24/17 Page 94 of 111

Ubal'lk sreNATuRE cARD - suerEss

T|N: XX-XXXXXXX
PHONE: (480) 386-5133

TYPE OF ACCOUNT: Silver Business Checklng

CHR|ST\NA L MEGALO. JOO -024

 

 

[DATE OPENED: 09/02/2015 TIBTE OPENED: 01:16 PM OPENED EY: Stefani A Nevells OFFlCE: 00496

 

Certttication: Under penalties of perjury, l certify that:
(1) (XX-XXXXXXX) is my correa Taxpayer identification Number (or i am waiting for a number to be issued to me), and
(2) l am a U.S. Citizen or other U.S. person. and
(3) l am not subject to backup withholding because (a) l have not been notified by the lntemal Revenue Service (lRS) that l am
subject to backup withholding as a result of failure to report all interest or dividends, or (b) the lRS has notified me that l am no
longer subject to backup withholding
(4) The FATCA code(s) entered on this form (lf any) indicating that l am exempt from FATCA reporting is correct

§ggmg§gg_t_n_st_ru_p_ttms` You must cross out item 3 above it you have been notitied by the lRS that you are currently subject to
back up withholding because you have failed to report all interest and dividends on your tax return. For real estate transaction item
3 does not apply. For mortgage interest paid, acquisition or abandonment of secured property. cancellation of debt, contributions to
an individual retirement arrangement (lRA), and generally payments other than interest and dividend you are not required to sign the
Certiicatlon, but you must provide your correct TlN.

 

The |ntemal Revenue Service does not require your consent to any provision of this document other than the certifications
required to avoid backup wlthholdlng.

 

E-SIGNed 09/02/2015 by CHRISTINA L MEGALO

M.»="I¢,»s

curt ME 0 osteL:

 

 

 

Terms And Condltlons: 'lhe bank is hereby authorized to recognize the signature(s) subscribed below in the payment of funds or
the transaction of any business for this account All transactions shall be governed by applicable laws and the bank's terms (copy
acknowledged as received herewith) that pertain to the type of account and style of oumership indicated on this card. Upon request
of the bank, any consumer reporting agency is hereby instructed to fumish a consumer report relating to the undersigned to the
bank Refer to resolution tile for authorization of signatures where authorization is required.

By signing this signature mrd, you are also admowledging your express consent to the terms and conditions in your applicable
amount agreement. including but not limited to our policies on funds availability and our cellular phone contact policy.

 

E-SIGNed 09/02/2015 by URISTINA L M`EGALO

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U.S. Bank
Customer Coniidential

 

 

 

Agarwal Attachment H-8

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 95 of 111

PX3
Agarwal Attachment I
Vectra (Zion) Bank Records

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 96 of 111

CUSTOD|AN OF RECORD§ AFF|DA’V|T

Client Name: Bridge Ford LLC et al
Case No.: 772 3058

COMES NOW, Kevin Mwangi , who does swear and affirm the following:

1. l am a duly authorized custodian of the records for the following entity
, vema sank of Co|°rad°, a division of zg, N_A_ and as such have access to the records and data maintained
by that entity in the regular course of its business.

2. l hereby certify that it is a regular practice of the above-described entity to make and keep records of the
acts, events, conditions, and opinions of such entity in the ordinary course of its business.

3. l hereby certify that the attached documents are true and correct duplicates of ali of the records described
in the subpoena/summons that are in my possession or control as a custodian of such records.

4. lfu rther certify that the original records, from which the attached documents were copied, were made by
the personnel of the above-described entity at or near the time of the original business transactions by, or
from information transmitted by, a person with knowledge of those matters. Such documents are made in the j
ordinary course of business at said entity and are regularly kept in order to record the acts, events, conditions,
or opinions of said business entity in the course of its regular business practice

5. l hereby declare under penalty of perjury under the laws of the State ofCOLORADO that the
foregoing is true and correct.

 

 

oATF_o this 10 day of lANUARY , 2017. ‘ .
, /i/]l»t/ / /{t)/`M%I
Srgnatu re: g
State of Utah
Cour\ty of Sait l.ake

SUBSCR|BED and sworn to before me this

10 day of iANUARY ,2017.

1 v

 

Notary Pubiic AucrA r<AY HERRET
Commission No: 685625
Notary Pub|ic
State of Utah
My Commission Expires 10/12/2019

Agan~al Attachment l-1

Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 97 of 111

 

  
 

 
 

 

 

 

Branch lD: 0435
Cost Cenfer: 01435
Account Structure: Corpcraiion Date; 06/05/2015

Su rsedes Card dated' j Repiaced by Card dated 1 FileNet Document lD:

26-140521 8

 

 

 

 

     

 

Account Number Opened Date Opened/Revised By _ Acct Type Approved Cicsed Date
907 06/05/2015 Sonya Staniey DDA 134

 

 

 

 

 

 

 

 

 

 

 

        

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g nN: XX-XXXXXXX

 

 

 

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JENN\FERAJOHNS N c W nN; -3911

4. y Type:

 

 

 

 

 

 

 

TlN:
5' Type:

TlN:
6. Type:

TlN:

 

TAX REPORTING lNFORMATION - W-9 CERT|F|CAT|ON
Complete this section only if you aro a U.S. citizen or U.S. resident alien. § lndvldual § sure proprietor § mm E annie

c corporation emma P mm other
Under penalties of perjury, i certify that: LLC c motion fm 8 cmp;"mn°n uag',',m:mmp

1. The number shown on this form is my correct taxpayer identification number (or l am waiting for a number to be issued tc me), and

2. | am not subject to backup withholding because: (a) l am exempt from backup withholdingl or (b) i have not been notified by the |ntemal Revenue Service
(lRS) that l am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the lRS has notified me that l am no longer subject
to backup withholding, and

3. l arn a U.S. citizen or other U.S. person, and

4. l am exempt from FATCA reporting.

Certlflcatlon instructions. You must cross out item 2 above if you have been notified by the lRS that you are currenin subject to backup withholding
because you have failed to report all interest and dividends on ygr,.tax m. Fcr real estate transactions, item 2 does not appiy. For mortgage interest paid,
acquisition or abandonment of secured prc:`p‘?y,»ean&li o cf debt, cont utions to an individual retirement arrangement (iRA), and general|y. payments
other than interest and dividends, yo?e ~ required to the certlii£a n, but you must provide your correct TlN

/"‘

_.,V / ids/is‘

Each person signing this Signaiure Card ('authorized aigner") requests that Vectra Bank Colorado (’the Bank") open the accounts designated and agreas:
- The accotmt(s) are governed by Fedarai and State law and mguiailon and the tamm and conditions of the most current version of the following DEFOS|T DOCUMENTS: 1) Dapoait AccountAgreernanl &
chlosure (irnpcrfani lnfomtaiion Aboui Your Vactra BankAwounls). and 2) interest Raic and Fec Schedule (Dapasit Rates and Account Terms). l (we) acknowledge tract the Bank has provided a copy oftha
nmsicurrentvarsionofihe DapositDocumanisiome (us).The DepcsitDocumsntsmay be amended byiha Banktrorn time to lime andaoopyofihs amendadDepcsitDocumentawiil be availableircm ihs Bank
and/ar will be mailed to the account address with lisa regular monthly statements The Dsposit Docimianis along with this Slgnatura Card constitute agreement with the Bank with respect to my/cur account(s).
-Anycnaciihealgnarsmayestabiiahaddltlnnai and ` " to,_ ‘ anleL " v...,. ‘ reiatedtcthaawount(s)intheaamenamaornamesandwiih thesarneaigmiure requiremarns.Bank
is authorized to accept instructions of any kind with respect to the awount(s) from any authorized slgner.
- BY SlGNlNG ABOVE l (WE) UNDERSTAND AND ACKNOWI£DGE THAT SUCH ACCOUNT AGREEMENT FROVlDES THAT ElTHER THE BANK OR l (WE) CAN REQUIRE THAT ANY DISPUTES
BETWEEN US CONCERN|NG THE BANK ACCOUNT i (WE) HAVE OFENED OR CONCERNING MY OTHER BANK ACCOUNTS AND SERV\CES WlLL BE RESOLVED BY BiNDING ARBi'l’RATiON.
- By signing this Signaiure Card. i (we) authorize the Bank (’you') to accept instructions from me (us) to open/dose awounis, apply for credit end request serviccs. without my (our) further original signature
¥oumayaweptmy(our)craicrsloctronichtstructlonswiththesameoftectesifl(we)hadsignsdtham.i(we)agmetofoilowyuur J`,r “ andto,. “ my(our) '_, upon 1 ‘Voumay
at any time refuse to accept such instructions l (we) authorize you to record and monitor my (our) telephone calls as evidame of my (our) instructions and for service quality purposes in addition, The Fair Cmdit
Raporiing Aci prohibits obtaining certain consumer reports relating to business accounts unless cement is ohiained. By signing below, the authorized aignor(a) consent to Vacba Bank Colorado making inquiry of and
ordering reports from credit raporting, check clearing and other such entities concerning the signcr's personal financial and other information. even though liiis may be a business aoccunt, tc be used for avab.\aiing
and handling this and other deposit and loan accounts at Vadra Bank Coioradc, and to disclose information about the account(s) to credit reporting agencies and to oihar persons oraganoiss who, in itsj\rdgrnsnt1
havea legitimate business purpcsofarobtainlng such information Upon raquasl.ycu will inform ma(us) ita consurnarraporthas been obtained and willglva me the namaand address oflhe agencyi'umishlng the rsporl.
CORPORATE RESOLUTION (Corpllnc/Co/Lid)

Profesaionai (Services) Corpcraiion (PC/Chtd/PA)
The undersigned individuals certify that (a) they are corporate ofiicer(s) or other authorized representative(s) of the corporation named on this
Signature Card, and (b) the following resolution was adopted at a meeting of the corporation's Board of Dlreciors duly called and held in accordance
with applicable state laws where the corporation ls incorporated The corporation is hereafter referred to as "Eni|ty'.

 

Signatura of U.S. Person

 

 

 

 

and/or and/or

President or Vbe President 7\A/iltli rhod?§tive, Tltle

Agarwal Attachment |-2

 

 

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Document processing fee

If document is filed on paper

If document is iiled electronically '
Fees & forms/cover sheets

are subject to change.

To file electronically, access instructions

for this form/cover sheet and other
information or print copies of filed
documents, visit www.sos.state.co.us
and select Business Center.

_ Colorado Secretary of State
§’F"ed Date and Time; 11/12/2007 03:53 PM
$ 125.00 Id Number: 20071520067
$ 25.00 Document number: 20071520067

Paper documents must be typewritten or machine printed. ' Anovs space ron omcnussomx

Articlos of Incorporation

filed pursuant to §7-90-301, et seq. and §7-1 02-102 of the Colorado Revised Statutes (C.R.S)

l. Entity name:

2. Use of Restricted Words (ifany ofthese
terms are contained in an entity name, true
name of an entity, trade name or trademark
stated in this document mark the applicable
box):

3. Principal office street address:

4. Principal office mailing address:
(if diti`erent from above):

5. Registered agent: (ifan individual):

OR (if a business organization):

Boulder Creek lnternet So|utlons, lnc.

 

mre name afa corporation must contain the term or abbreviation “corporatian ”,
“tncorporated”, "company", "limited ", "corp. ”. irrc. ", "co. " or "Itd”,' if the '
corporation ts a professional corporation _tt must contain the tenn ar abbreviation
"professional corporation ”, "p.c. ". or "pc " § 7- 90-601, C.R.S.)

I:I “bank” or “trust" or any derivative thereof
m “credit union” l:] “savings and loan”
I:I “insurance”, “casualty”, “rnutua ”, or “surety”

 

 

 

 

10955 Westmoor Dr.
(Street name and number)
4th Floor '
Westminster CO 80021
Ci 1 lHi C d
( w Un(ii'g<‘i States mm p o e)
(Provtnce - tfappIicable) (Counay - ifnot US)

 

(Street name and number or Post Ojice Box information)

 

 

 

 

(City) (State) (Po.rtal/Zip Code)
(Province ~ ifapplicable) (Cormtry - Jrrot U.S)
Ruscitti Giovanni
(Last) (Ftrst) (Mid¢ile) (quix)

 

6. The person appointed as registered agent in the document has consented to being so appointed.

7 . Registered agent street address:

ARTrNc_Pc

Berg Hi|l Greenleaf & Ruscitti LLP

 

 

 

171 2 Pear| Stree treet name and rrumberj
Boulder 00 80302
(C".W (State) (Postal/Zip Code)
Page l of 3 Rev. l 1/16/2005

Agarwal Attachment l-3

 

CaS€ 2217-CV-OZOOO-APG-GWF

8. Registered agent mailing address:

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(LEAVE BLANK if same as above)

(Street name and number or Post Ojiice Box tnfomratian)

 

 

(Cit)y (State) (Postal/Zip Code)

 

9. lfthe corporation’s period of duration
is less than perpetual, state the date on
which the period of duration expires:

(Province - ifapplieable) (Counny - i/`nat US)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(mm/dd/)oor)
10. (OPTIUNAL) Delayed effective date:
(mm/dd/jooni
ll. Name(s) and address(es) of
incorporator(s): (iftmindividual) Sfeven Vanderburg
(La.vr) (Frm) mrdd/e) (sqow
OR (if a business organization)
10955 Westmoor Dr.
4th F loor (Street name and number or Post 0,0ice Box irdormation)
Westminster CO 80021
(Clry) t a t lar cad¢)
Un(ii'eag States as a p
(Pravim:e - ifapplicable) (Country ~ [fnot US)
(if an individual)
lLaS/) (Fir-'i) (Mid¢"l¢) (Sltdix)
OR (if a business organization)
(Street name and number or Post O_Hice Box infonnation)
(Cit)d (_State (P t l/Zr' C a' )
Unlteci States as,a p a e
H’rovince - ifappiicable) (Country - ifnot US)
(if an individual)
(Ld~") (F""'St) (Middl€) (Sw?i\)
OR (if a business organization)
(Street name and number ar post Oj?ce Box information)
(Cit)r) (State O’ostaVZip Code)
U n iteci States
(Province ~ ifapplicable) (Country - i/`not US)
ARTINC_PC Page 2 of 3 Rev. 11/16/2005

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Case 2:17-cv-02000-APG-GWF Document 8-3 Filed 07/24/17 Page 100 of 111

(If there are more than three incorporators, mark this box l:| and include an attachment stating the true names and mailing addresses
of all additional incorporators.)

12. The corporation is authorized to issue 100 shares of common stock.
(manber)
(Additional classes of capital stock may be authorized and additional information regarding the corporation 's stock may be stated, mark this
box |:l and include an attachment stating pa'tirrent infbmratton.)

13. Additional information may be included pursuant to §7-102-102, C.R.S. and other organic statutes such as
title 12, C.R.S. If applicable, mark this box l:l and include an attachment stating the additional

information
Notice:

Causing this document to be delivered to the secretary of state for filing shall constitute the affirmation or
acknowledgment of each individual causing such delivery, under penalties of peljury, that the document is the
individual's act and deed, or that the individual in good faith believes the document is the act and deed of the
person on whose behalf the individual is causing the document to be delivered for filing, taken in conformity
with the requirements of part 3 of article 90 of title 7, C.R.S., the constituent documents, and the organic
statutes, and that the individual in good faith believes the facts stated in the document are true and the
document complies with the requirements of that Part, the constituent documents, and the organic statutes.

This perjury notice applies to each individual who causes this document to be delivered to the secretary of
state, whether or not such individual is named in the document as one who has caused it to be delivered.

14. Name(s) and address(es) of the
individual(s) causing the document _ _
to be delivered for iiling: Qumtana Jackle
(LeSl) (Firsl) Md¢”e) tsuhix)
Berg Hi|| Green|eaf & Ruscitti LLP

t§et name and number or Post Ofice Box ird'or'mation)

 

 

 

 

1712 Peaii treet
Boulder CO 30302
C' as ta' c d
( w Un(i`itogl<ei States (P m 'p a e)
H’rm'ince - ifapph‘cabie) (Cowmy _ ifm,; U,gj

(711¢ document need not state the true name and address of more than one individual However, ifyou wish to state the name and address

afany additional individuals causing the document to be delivered fbr jiling, mark this box m and include an attachment stating the
name and address qfsuch individuals.)

Disclaimer:

This form, and any related instructions, are not intended to provide legal, business or tax advice, and are
offered as a public service without representation or warranty. While this form is believed to satisfy minimum
legal requirements as of its revision date, compliance with applicable law, as the same may be amended from
time to time, remains the responsibility of the user of this form. Questions should be addressed to the user’s
attorney.

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BOULDER CREEK lNTERNET SOLUTIONS, INC.

RESOLUTION AND CONSENT OF SHAREHOLDERS BY
UNANIMOUS WRITTEN CONSENT

lt|£~l 1 ,2008

The undersigned, being the Shareholder of Boulder Creek Internet Solutions, Inc., a
Colorado corporation (the “Company"), hereby adopts by unanimous written consent, in
accordance with the laws of the State of Colorado under Sections 7-]07-104 and 7-107-106 of
the Colorado Business Corporations Act, and Colorado Revised Statutes, and Section 13 of the
By-Laws of the Company, the following resolution with the same force and effect as if they had
been adopted at a duly convened meeting of Shareholders of the Company:

RESOLVED, the Shareholders consent and approve of Steve Vanderburg’s sale of ninety-
nine shares of stock in Boulder Creek Internet Solutions, Inc., a Colorado corporation, which
comprises 99% of the total stock of the Company, for a purchase price of $5,000.00 in
accordance with the Stock Purchase Agreernent dated April 7, 2008 by and between Steve

Vanderburg, individually and as President of the Company, and BellaClcar LLC, a Colorado
limited liability company.

IN WITNESS WHEREOF, the undersigned has executed this Resolution this _'Z_th day of
April, 2008.

Srava VANanBuRc, sHMiioLm-:R

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SravE VANDERBuRo, f
PasstDBN'r or THE CoMPANv

Agarwal Attachment |-6

 

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l _ ' .
VECTRAB§NK Business ownership Aadendum

LORADO

NameofBusiness: ?>Oot\rle( Crce.lL ':i:|/\~l'€rr\oi' SO\uinn$ inc .

Account Numb ers:

vaca

 

 

The business is a:

MCorporation I:IPartnership/LLP l:lAssociation/Organization l:lLLC l:l Other

Does the business have an Operating Agreement:

The owners of the business arc:

I:l Yes $No

Name: Title:
B\é\`\r ll\/\C i\i€,O\, W/WMW

 

\')'€t\t\`\crr J'S\nv\son

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Information _Provided By:
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ClientlsSign j

Created: 01-2007 Revised: 06/14/2011

C@’“J~t§

Date

Agarwal Attachment |-7

 

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citing

 

 

 

 

 

 

 

 

 

 

        

    

 

 

 

 

 

 

 

 

 

 

 

 

       

 

Account 'l“\t|e: BR|DGE FORD LLC n 27_5221236 Branch lD: 0435
Cost Center: 01435

Account Sfructure: lelted Llabl|lty Company Date: 06/05/2015

Supersedes Card dated Replaced by Card dated: 4 _ b Fi|eNet Document lD:

7 Account Number Opened VDate Opaned/Revised lBy Acct Type ` Approved h Closed Date

915 06/08/2015 Sonya Stanley DDA` 134
;.Aur;horized,,slgnetariffz ` _ . _ ;f:;~;slg'r"iatr'r'r'e§§7 ~ » , ,""~.ifRélatlt‘inshlp , _
1. T e;LLC
BR|DGE FORD LLC Tl\'(§: 27_5221236

 

2. . 'l l ' ~ ~ Type~Non-Tlt|e
EMILY McEon S)\; /_[jjc€\‘¢/\/~ T;N; aan

 

3- T e; on- te
JENN\FERAJOHNSON )< § jJ§IL;L vp
~ glen

 

 

 

 

 

 

 

 

4. y Type:
f TlN:
5. Type:
TlN:
6. Type:
TlN:
TAX REPORT|NG lNFORMATlON - W-9 CERTIF|CAT|ON
Complete thls section only lt you are a U.S. clt|zen or U.S. reslr.lent allen. lndlvlrrual sole Pmpnmor Trusr anna
Under penalties of perjury, | cert|fy that: &§°<;p°c:::nmum EL:°;"°'°E°" mm U°a';":mnp mm

1. The number shown on thls form ls my correct taxpayer ldentltlcatlon number (or| am waltlng for a humberto be lssued to me), and

2. l am not subject to backup wlthholdlng because: (a) l am exempt from backup wlthholdlng, or (b) l have not been nollfled by the |ntemal Revenue Servlce
(lRS) that | am subject to bad<up withholding as a result of a failure to report all lnterest or dlvldends, or (c) the lRS has notlfied me that | am no longer subject
to backup wlthho|ding, and

3. | am a U.S. citizen or other U.S. person, and

4. l am exempt from FATCA reportlng.

Certlflcatlon lnstructlons. You must cross out ltem 2 above lf you have been notltled by the lRS that you are currently subject to backup wlthholding
because you have falled to report all |nterest and dlvldends on your tax retum. For real estate transact|ons. item 2 does not apply. For mortgage lnterest pald,
acqulsltlon or abandonment of secured propema» of debt, contributlons to an lndlvldua| retirement arrangement (lRA). and generally, payments

ce a
other than lnterest and dlvldend/ycuaY:quir/ed to sl the certlticatlon, but you must provide your correct Tll\t/{M
Slgnature of U. S. PersonV Date: ____i__MY

 

 

 

Eadr person signing this Slgn;re{("authorlzed slgner") requests that Vectra Bank Colorado ('the Bank") open the accounts designated and agrees:

- The account(s) arc governed by Federal and Stato law and regulation and the terms and conditions ot the most current version of the tohovtlng DEPOSlT DOCUMENTS:1) Deposlt Account Agreement &

Dlsclosure (lmpcrtant lnfcrmatlon About Your Vectra Bank Accounts), and 2) lnterest Rata and Fec Schedule (Deposlt Rates and Account Terms). l (we) acknowledge that the Bank has provided a copy of the
most amant version of the Deposll Documents to mo (us). The Depcslt Doo\umnts may be amended by the Bank from lime to lime and a copy of the amended Dapostl Dourments will be available from the Bank

and/orwlll be mailed to the amount address vtdh the regular monthly statements The Deposlt Documents along wlth this Slgnature Card constitute agreement with lhe Bank with respect to mylour amount(s).
-Anyonecithesigncrsmayestob!lsh addldor\alaocounlsand umwa to productsand banklngservlces related to lheamount(s)lr\ the samenamaornamssondwith dreaameslgnawra requirements Bank

ls authorized lo accept instructions of any k|nd with respect to the account(s) from any authorized slgner.

- BY SlGNlNG ABOVE l (WE) UNDERSTAND AND ACKNOWLEDGE THAT SUCH ACCOUNT AGREEMENT FROVIDES THAT El'lHER THE BANK OR l\(WE) CAN REQUlRE THAT ANY D|SPUTES

BETWEEN US CONCERN|NG THE BANK ACCOUNT l (WE) HAVE OPENED OR CONCERN|NG MY OTHER BANK ACCOUNTS AND SERV|CES WlLL BE RESOLVED BY BIND|NG ARB|TRAT|ON.
- By slgnlng this Slgnature Cord, l (we) authorize the Bank ('you') to accept lnstrudons horn me (us) to opsrdctose accounts, apply for credit and request services. without my (our) luther original algnature.

Youmayacceptmy(om)oralorelectrontclnstructlonswlththesemeefiectasttl(we)hadslgnedthem.l(wa)agreetotollowyour ”`,, nndto,, " my(our) '_, ‘ upon 1 ‘Youmay

ar any time refuse to accept such lnstructlor\s. l (we) authorize you to record and monitor my (our) telephone calls as svldsnce of my (our) distinctions and for service quality purposes tn addltlor'l. The Folr Credlt

Repor\lng Act prohlhlts obtaining certain consumsrrepcrts relating lo mattress accounts unless consent la obtained. By signing balow, the authorized signcr(c) consent to Vectra Bank Colorado making lnqulry ot and
ordering reports from credit reporting dreok clearing and other such entitles containing the slgnor's personal tinanclal and other lntcrmatlcn. even though this may be a buslnass oooount, lo be md for evaluating

and handling this and nw deposit and loan accounts at Vectra Bank Colorado, and to dls¢:lose information about the account(s) to crst reporting agendes and to other pomona or agem:les ntho, ln ha judgment.
have a legitimate business purpose for obtaining such lnfom\atlon. Upon raques!. you \vlll lntorm me (us) lt a consumer report has bean obtained and wm give ms the name and address ot the agency tumlshlng the rapcrL

 

LIM ITED LlABlLlTY COMPANY (LCILLC) AUTHOR|ZAT|ON
Professlonal Limited Llabl|lty Company (PLLC)

The undersigned lndlvlduals hereby certify that (a) they are member(s) or manager(s) of the limited llablllty company named on thls Slgnature Card, with
authority to transact banking business on behalf of such llm|ted llabl|lty oompany. and (b) that the following resolution was adopted by the members and/or
managers, as requlred by applicable slate law. The llmlted llablllty company ls referred to ne 'Entity' ANY lNDEBTEDNESS INCURRED |N CONNECT|ON
WITH THlS 'ACCOUNT SHALL BE THE lNDEBTEDNESS OF EACH AN?D UNDE lGNED, lNDlVlDUALLY AND COLLECTIVELY.

49 /£//§ x x
/ / Date Manager or Member Mr@g§a\’§ember Manager or Member

Agarwal Attachment l-8

 

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'_ ' .
. %ECTRABANK cum Business Ownership Addendum
Name of Business: Br\ 2 9 g H)y-&€ t/L,C»

The business rs a: '
l:l Corpcraiion I:I Partnership/LLP I:IAssociation/Organization MLLC l:l Other

 

 

Does the business have an Operating Agreement: l:l Yes § No
The owners of the business are:
Name: . Title:
EW\I`/¢] Mc E_{/O\'/ Vl/l€é‘t[:ur///j/mnqj€r

J`éc/m?)[`§r/ Bh¢/j§@m Vl/l€Mb/€/

 

 

 

 

 

 

 

Information Provided By:

(:)w/o g //\4¢ U/O\L
Clz’en ’sPrz' é
t MY iié(t\/- l'//§//s

Cltent’ .s' Signaturd Date

Crcated: 01-2007 Rcviscd: 06/14/2011
Agarwal Attachment l-9

 

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' 95er Bank‘C°li'>r.éde'»`N/:"S:i;airat¢iié:§ar

 

 

 

 

 

 

 

Account Tlfle! wHEELER PEAK MARKETrNe LLC 35_2507907 Branch lD: 0435
Cost Center: 01435
Account Structure: Limited Liability Companr Daer 09/29/2015
Supersedes Card dated: Replaced by Card dated: 1 Fi|eNet Document lD:

 

   

   
 

 

 

 

 

 

 

 

 

 

 

 

 

      

 

 

 

 

 

 

 

 

 

 

Account Number Opened Date Opened/Revised By Approved Closed Date
194 09/30/2015 Sonya Stan|ey
,` . , ,. srgr'r'aturei~».».v ' ':Reratreh'sriir") ,
WHEELER PEAK MARKET|NG LLC j TlN: 35_2507907
2. ry _.., , Type' ~
aLArR w McNEA ( "'_;§-»" m MSZQ
3' &--*---~// Type:
TlN:
4' Type:
TlN:
5- Type:
TlN:
6' Type:
TlN:
TAX REPORT|NG lNFORMATlON - W-9 CERT|F|CAT|ON
Complete this section only if you are a U.S. citizen or U.S. resident alien. individual laura Proprtewlsrngre~memher r.Lc rmi/astute El other
Under penalties of perjury, l certify that :g°cp°mcmpmauum on ?.L<::°:°cr::`mnon rf'La<r:vMspartrrershrphill

1. The number shown on this form is my correct taxpayer identification number (ori am waiting for a number to be issued to me), and

2. l am not subject to backup withholding because: (a) l am exempt from backup withholding, or (b) l have not been notified by the |ntemal Revenue Service
(lRS) that l am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the lRS has notified me that l am no longer subject
to backup withholding. and

3. l am a U.S. citizen or other U.S. person, and

4. l am exempt from FATCA reporting.

Certificatlon |nstructions. You must cross out ltem 2 above if you have been notified by the lRS that you are currently subject to backup withholding
because you have failed to report all interest and dividends o our-taxretwn>For real estate transactions, item 2 does not apply. For mortgage terest aid.
acquisition or abandonment of secured property. canoell on of d contfibutlons to an individual retirement arrangement (iRA), and generally pa

other than interest and dlvldends. you are not:wquired to sign the flcation, but you must provide your correct TlN.
Slgnature of U.S. Person ` - § ""*‘ / ` TlN: 35'25°7907 Date:

-._`__._,4_.»

  

 

 

 

Each person signing this Signature Card (”authorlzed slgner') requests that Vactra Bank Colorado (“the Bank") open the accounts designated and agrees:

- The accom'rt(s) are governed by Federal and Staie law and regulation and the terms and conditions of the most current version of the following DEPOS|T DOCUMENTS: 1) Deposit Acwunt Agreernant &

Disciosure (important lniomratinn Abmt Your Vactra Bank Accourde). and 2) interest Rate and Fee Schedule (Deposit Rates and Account Temrs) l (we) acimowiedga that the Bank has povided a copy ofthe
mostcurrentversion oftheDaposit Docurnente to me (ue).'ihe DepositDocurnentsrnaybe emerrdedbyiha Bankfrorn time tolinre and acopyoitheamended Deposlt Docurnentswlli beavallabletrmn the Bank
and/or will be mailed to the account address with the regular monthly statements The Depoeit Doctanents along with this Stgnature Card constitute agreement with the Bank with respect to my/our account(s).
-Anyoneofthesignsrsmay "` L additional and ` " tor ’ ‘ andL " _,eervicesreiatedtoti'raaccotmt(s)m theeamenama ornameandwiihthesamesignaturemqulremenis. Bank
ls authorized to accept instructions of any kind with respect to the account(s) from any authorized slgner.

- BY SlGNiNG ABOVE l (WE) UNDERSTAND AND ACKNOWLEDGE THAT SUCH ACCOUNT AGREEMENT PROV|DES THAT ElTHER `iHE BANK OR l (WE) CAN REQUIRE THAT ANY DlSPUTES

BETWEEN US CONCERN|NG Tl-lE BANK ACCOUNT l (WE) HAVE OPENED OR CONCERNING MY OTHER BANK ACCOUNTS AND SERVlCES Wll.L BE RESOLVED BY BiNDiNG ARBITRAT|ON.
- By signing this Signature Card, l (we) autinxlze the Bank ('yeu’) tc accept instructions from ms (us) to open/dose accounts, apply for credit and request serviooe, without my (our) further original signature
You may moot rrry(our) oral oreiecimnicinstnrctions with the same effectle if| (we) had signed them. l (we) agree to foilowycm'securityprcoedures and to prodde my (our)slgnature upon request You may
atenytlme refusetoacceptsuchlnstructlons.|(we)ar.rthorizeyouloreoordandmonitorrny(our) ' _‘ calisas ”' ofmy(our)' ' andforservlmqualltypurpoeea inaddiilon,TheFairCredit
Raporllng Act prohibits obtaining certain umsumm reports relating to business amounts unless cor'rsent is obtained Bysigning below, tire authorized eignor(s) consent le Vactra Bank Coiorado making inquiry of and
ordering reports from credit reporting, dmck clearing and other such entities concerning the slgnor‘e personal financial and other infonnation, evan though this nray be a business account to he used for evaluating

andhandiinglhisandoiherdeposilnndioanamotousatvectra Bankf` andto " ' ' aboutihe f ;tocredit r ‘ ,agenoiesandtootherparsonsoragancles who,initsjudgmant.
have a legitimate businem purpose for obtaining such information Upon request you will inform rna (us) lfa consumer report has been obtained and will give ma the name and address of tire agency fumlshing the report

 

LlMlTED LlABlLlTY COMPANY (LC/LLC) AtJTHORlZATlON
Professlonal Limited Llabl|lty Company (PLLC)

The undersigned individuals hereby certify that (a) they are member(s) or manager(s) of the limited liability company named on this Signature Card. with
authority to transact banking business on behalf of such limited ilabiiily`ct):@`pa`hy, and (b) that the following resolution was adopted by the members and/or

managers, required applicable state law. f_,`i'he limit lab|liiy`colmpany is referred to as "Entlty”. ANY lNDEBTEDNESS lNCURRED lN CONNECTION
WITH TH ACZOU S E THE l?DE'B'TEDNESS OF AND EVERY OF THE UNDERSIGNED. lNDlVlDUALLY AND COLLECT|VELY.
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. VECTRABMI£ Business Ownership Addendum

Name of Business: W h 6 ¢,j er Pea j< Mar[(eh nj LLC.

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The business is a: ' _
[:I Corporation I:l Partnership/ILP I:lAssociatlon/Organization MLLC l:] Other

 

 

Does the business have an Operating Agreement: I:I Yes MNo
The owners of the business are:

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Compass Bank Records

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Ql/\fr ~ OM

CERTIFICATION OF RECORDS OF REGULARLY CONDUCTED ACTIVITY
Pursuant to 28 U.S.C. § 1746

ad
t:y@W€/M%jw , have personal lmowledge of the facts set forth below

nd am competent to testify as follows:

 

 

2. I have authority to certify the authenticity of the records produced by Compass Bank and
attached hereto.

3. The documents produced and attached hereto by Compass Bank are originals or true
copies of records of regularly conducted activity that:
a) Were made at or near the time of the occurrence of the matters set forth by, or

from information transmitted by, a person With knowledge of those matters;

b) Were kept in the course of the regularly conducted activity of Compass Bank.; and
c) Were made by the regularly conducted activity as a regular practice of Compass

Bank,

I certify under penalty of perjury that the foregoing is true and correct.
Exccuted QMV_/é(__, 20 1,6( /7

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Signature

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Deoember 3, 2014

I, Susan Laurent, owner of Walnut Street Marketing, Inc, am requan that
Danielle Foss, be added as an authorized signer to account_45o with
BBVA Compass with full account access capabilities

Sincerely,

Susanl.aurent

 

Agan~a| Attachment J-4

